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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEBRASKA

      In re:                                                            Chapter 11

      GORDMANS STORES, INC., et al.,1                                   Case No. 17-80304 (TLS)

                                                                        (Jointly Administered)
                                  Debtors.


 SUMMARY COVER SHEET TO FIRST AND FINAL FEE APPLICATION OF FROST
   BROWN TODD LLC FOR COMPENSATION FOR SERVICES RENDERED AND
 REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL FOR THE OFFICIAL
 COMMITTEE OF UNSECURED CREDTORS OF GORDMANS STORES, INC., ET AL.
    FOR THE PERIOD FROM MARCH 16, 2017 THROUGH NOVEMBER 15, 2017


     Name of Applicant                                          Frost Brown Todd LLC
     Client                                                     Official Committee of Unsecured Creditors
     Petition Date                                              March 13, 2017
     Retention Date                                             April 14, 2017 [Docket No. 345]
     Time Period Covered                                        March 16, 2017 – November 15, 20172
     Total Hours Billed                                         1026.2
     Total Fees Requested                                       $486,794.00
     Total Expenses Requested                                   $14,971.61
     Total Amount Requested                                     $501,765.613
     Fees Approved to Date by Interim Order                     N/A



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, include: G-Estate Liquidation Stores, Inc., formerly known as Gordmans Stores, Inc. (1987);
 G-Estate Liquidation, Inc., formerly known as Gordmans, Inc. (1211); G-Estate Management Company, Inc., formerly
 known as Gordmans Management Company, Inc. (5281); G-Estate Distribution Company, Inc., formerly known as
 Gordmans Distribution Company, Inc. (5421); G-Estate Intermediate Holdings Corp., formerly known as Gordmans
 Intermediate Holdings Corp. (9938); and G-Estate Liquidation, LLC, formerly known as Gordmans LLC (1987).
 2
   The applicant reserves the right to include any time expended in the time-period indicated above in future
 application(s) if it is not included herein.
 3
  The applicant reserves the right to include any time expended or costs incurred in a supplemental application if it is
 not included herein. This amount includes an additional $3,500.00 in fees and costs for time incurred after the Effective
 Date and for amounts the applicant estimates it will incur related to the preparation of this application.
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  Expenses Approved to Date by Interim           N/A
  Order
  Compensation Sought That has Been Paid         $381,310.00
  Pursuant to a Monthly Compensation
  Order but not yet Allowed
  Expenses Sought That Have Been Paid            $14,935.43
  Pursuant to a Monthly Compensation
  Order but not yet Allowed
  Total Attorneys                                4
  Total Attorneys Billing Less Than 15 hours     0
  (if any)
  Rate Increases not Previously                  No
  Approved/Disclosed

    This is a:      Monthly       Interim   X Final Fee Application




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEBRASKA

     In re:                                                         Chapter 11

     GORDMANS STORES, INC., et al.,4                                Case No. 17-80304 (TLS)

                                                                    (Jointly Administered)
                                 Debtors.


      FIRST AND FINAL FEE APPLICATION OF FROST BROWN TODD LLC FOR
      COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
      EXPENSES INCURRED AS COUNSEL FOR THE OFFICIAL COMMITTEE OF
      UNSECURED CREDTORS OF GORDMANS STORES, INC., ET AL. FOR THE
          PERIOD FROM MARCH 16, 2017 THROUGH NOVEMBER 15, 2017

         In accordance with the Order (I) Establishing Procedures for Interim Compensation and

 Reimbursement of Expenses for Retained Professionals and Reimbursement of Creditors’

 Committee Member Expenses, and (II) Granting Related Relief, entered on April 17, 2017, [Docket

 No. 351] (the “Interim Compensation Order”)5, Frost Brown Todd LLC (“FBT”), co-counsel to

 the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors in

 possession in the above-captioned cases (the “Debtors”) in these chapter 11 cases (the “Chapter

 11 Cases”), hereby submits its first and final fee application (the “Application”) for the period

 from March 16, 2017 through November 15, 2017 (the “Fee Period”), pursuant to sections 330




 4
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: G-Estate Liquidation Stores, Inc., formerly known as Gordmans Stores, Inc. (1987); G-Estate
 Liquidation, Inc., formerly known as Gordmans, Inc. (1211); G-Estate Management Company, Inc., formerly known
 as Gordmans Management Company, Inc. (5281); G-Estate Distribution Company, Inc., formerly known as Gordmans
 Distribution Company, Inc. (5421); G-Estate Intermediate Holdings Corp., formerly known as Gordmans Intermediate
 Holdings Corp. (9938); and G-Estate Liquidation, LLC, formerly known as Gordmans LLC (1987).
 5
  Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Interim Compensation
 Order and Plan (defined herein), as applicable.

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 and 331 of title 11 of the United States Code (the “Bankruptcy Code”), 6 Rule 2016(a) of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Local Rule 2016-1 of the

 Nebraska Rules of Bankruptcy Procedure (the “Local Rules”), and the United States Trustee

 Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

 Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases (the “UST Guidelines”), for (i)

 the allowance of compensation for the services performed by FBT for and on behalf of the

 Committee for the Fee Period and (ii) for reimbursement of FBT’s actual and necessary expenses

 incurred during the Fee Period. In support of this Application, FBT respectfully states:

                             JURISDICTION AND STATUORY PREDICATES

            1.       The United States Bankruptcy Court for the District of Nebraska (the “Court”) has

 jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.

            2.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This matter

 is a core proceeding within the meaning of 28 U.S.C. § 157(b).

            3.       The statutory predicates for the relief requested herein are sections 105, 330, and

 331 of the Bankruptcy Code, Rule 2016(a) of the Bankruptcy Rules, and Local Rule 2016-1.

                                                   BACKGROUND

            4.       On March 13, 2017 (the “Petition Date”), the Debtors filed voluntary petitions for

 relief under chapter 11 the Bankruptcy Code in this Court. The Debtors operated their businesses

 and managed their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

 the Bankruptcy Code.

            5.       On March 15, 2017, the Office of the United States Trustee appointed the

 Committee pursuant to section 1102 of the Bankruptcy Code. The members of the Committee


 6
     Unless otherwise indicated, all statutory cites are to the Bankruptcy Code.

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 were: (i) Werner Enterprises, Inc.; (ii) Marketplace on First, LC; (iii) GGP Limited Partnership;

 (iv) Catalyst Westowne, LLC; (v) Kellermeyer Bergensons Services, LLC; (vi) DDR Corp.; and

 (vii) Ezrasons Inc.7

         6.      On April 13, 2017, the Committee filed the Application to Retain, Employ and

 Compensate Frost Brown Todd LLC as Counsel for the Official Committee of Unsecured

 Creditors, Effective as of March 16, 2017 [Docket No. 343] (the “Retention Application”).

         7.      On April 14, 2017, this Court entered an Order approving the Retention Application

 [Docket No. 345].

         8.      On April 17, 2017, this Court entered the Interim Compensation Order, which sets

 forth the procedures for interim compensation of services rendered and reimbursement of expenses

 incurred for Retained Professionals.

         9.      On October 18, 2017, this Court entered an order confirming the Debtors’ Joint

 Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1036] (the

 “Plan”). The effective date of the Plan occurred on November 15, 2017 [Docket No. 1057] (the

 “Effective Date”).

         10.     The Plan requires the filing of all final fee applications by no later than forty-five

 (45) days after the Effective Date.

                                         RELIEF REQUESTED

         11.     By this Application, FBT seeks final allowance of $486,794.00 as compensation

 for professional services rendered to the Committee during the Fee Period, and $14,971.61 as

 reimbursement for actual and necessary expenses incurred by FBT for the Committee during the




 7
  Werner Enterprises, Inc.; Marketplace on First, LC; and Catalyst Westowne, LLC subsequently resigned from the
 Committee.

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 Fee Period. This amount includes an estimated $3,500.00 in additional fees and expenses incurred

 by FBT after the Effective Date, relating to, among other things, preparing this Application. If the

 actual amount of fees and expenses for the foregoing activities is below $3,500.00 FBT will only

 seek compensation of the amount of fees and reimbursement of the amount of expenses that are

 actually incurred and will refund the difference to the Professional Fee Escrow Account.

        FEES AND EXPENSES INCURRED BY FBT DURING THE FEE PERIOD

        12.     The services provided by FBT during the Fee Period have been actual and necessary

 and have benefited the Committee. Reasonable compensation for the services provided during the

 Fee Period based on the time, the nature, the extent, and the value of such services, and the costs

 of such services is $501,765.61.

        13.     FBT maintains detailed, daily computerized time records in the ordinary course of

 its business. These time records are prepared contemporaneously with the corresponding services

 to the Committee. The records indicate: (i) the person performing the services, (ii) the date of the

 services, (iii) a detailed description of services, and (iv) the length of time (in tenths of hours

 increments) rendered for the services.

        14.     Pursuant to the UST Guidelines, a summary of the names, positions, and hourly

 rates of each professional who billed time during the Fee Period in connection with FBT’s

 engagement by the Committee is attached hereto and incorporated herein as Exhibit A.

        15.     In compliance with the UST Guidelines, attached hereto and incorporated herein as

 Exhibit B is a summary of the total fees for each project category for the Fee Period and a detailed

 breakdown of time records by project category for the Fee Period.




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        16.     In rendering services to the Committee during the Fee Period, FBT has incurred

 expenses in the total amount of $14,971.61. FBT seeks approval for reimbursement of those

 expenses, as detailed on attached Exhibit C.

        17.     FBT’s detailed time records for the Fee Period evidencing the day-to-day services

 and the time expended in performing such services are attached hereto and incorporate herein as

 Exhibit D.

        18.     As required by the Interim Compensation Order and as set forth below, FBT filed

 and served the following monthly fee statements on the Application Recipients setting forth the

 full amount of its fees and expenses for each month of the Fee Period. No Application Recipients

 objected to any of FBT’s monthly fee statements set forth below and under the Interim

 Compensation Order the Debtors were authorized to pay 80 percent of the monthly fees and 100

 percent of the monthly expenses sought by FBT for each month of the Fee Period, without prior

 application to the Court.



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   Dated Filed        Period         Fees              Expenses     Fees        Expenses
                                     Requested         Requested    Paid (80%) Paid (100%)
       5/8/2017       3/16/2017-     $139,530.50       $7,331.20    $111,624.40 $7,331.20
    Doc. No. 432      3/31/2017
      5/30/2017       4/1/2017-      $72,413.50        $5,100.76    $57,930.80     $5,100.76
    Doc. No. 522      4/30/2017
      7/13/2017       5/1/2017-      $39,133.00        $382.77      $31,306.40     $382.77
    Doc. No. 800      5/31/2017
      7/31/2017       6/1/2017-      $55,472.50        $281.66      $44,378.00     $281.66
    Doc. No. 871      6/30/2017
      8/29/2017       7/1/2017-      $54,183.50        $928.69      $43,346.80     $928.69
    Doc. No. 945      7/31/2017
      9/28/2017       8/1/2017-      $50,350.00        $351.03      $40,280.00     $351.03
    Doc. No. 999      8/31/2017
     10/24/2017       9/1/2017-      $30,966.00        $242.74      $24,772.80     $242.74
   Doc. No. 1041      9/30/2017
     11/13/2017       10/1/2017-     $34,588.50        $316.58      $27,670.80     $316.58
   Doc. No. 1051      10/31/2017
     11/29/2017       11/1/2017-     $6,656.50         $36.18
   Doc. No. 1064      11/15/2017
   TOTAL                             $483,294.00       $14,971.61   $381,310.00 $14,935.43

         SUMMARY OF LEGAL SERVICES RENDERED DURING FEE PERIOD

        19.      In compliance with the UST Guidelines, the following summary identifies the areas

 in which services were rendered by FBT to and for the benefit of the Committee, and the

 issues/categories to which FBT devoted time and efforts during the Fee Period.

        20.      The summary is divided according to project billing codes reflecting the categories

 of tasks that FBT performed in connection with these Chapter 11 Cases. Nevertheless, given the

 interconnectedness of certain issues in these Chapter 11 Cases, certain of these categories may

 overlap with each other.

 A.     Case Administration
        Code: B110
        (Fees: $37,534.06/Hours Billed: 81.6)

        This category includes time spent by FBT relating to day-to-day management and
        prosecution of these Chapter 11 Cases, including, among other things, (i) reviewing
        correspondence and pleadings; (ii) addressing various miscellaneous administrative tasks;


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       (iii) monitoring critical dates and deadlines; and (iv) communicating with Debtors,
       creditors, and other parties in interest regarding case administration issues.

 B.    Asset Analysis and Recovery
       Code: B120
       (Fees: $71,433.46/Hours Billed: 167.4)

       This category includes time spent investigating the Debtors’ assets and analyzing potential
       recoveries. During the Fee Period, FBT (i) investigated the Debtors’ capital structure, 2013
       dividend recapitalization, and potential causes of actions and claims against the Debtors’
       directors and officers; (ii) analyzed and researched legal issues related to potential claims
       and causes of action against the Debtors’ directors and officers relating to, among other
       things, breach of fiduciary duties, fraud, insider/fraudulent transfers, improper
       redemptions, corporate waster and equitable tolling of statute of limitations; (iii) analyzed
       and researched legal issues related to the debtors’ directors and officers liability insurance
       policy; (iv) negotiated the production of business and corporate records by the Debtors and
       analyzed and reviewed same; (v) conferred and met with Debtors’ professionals regarding
       potential claims against Debtors’ directors and officers; (vi) participated in Committee
       investigation interview of Debtors and Duff & Phelps and conferred with Committee
       professionals regarding same; (vii) investigated and addressed asset turnover issues; and
       (viii) investigated and addressed issues relating to claims of Comenity Bank.

 C.    Asset Disposition
       Code: B130
       (Fees: $94,048.83/Hours Billed: 199.4)

       This category includes time spent by FBT in connection with the disposition of the
       Debtors’ assets. During the Fee Period, FBT, among other things, (i) communicated with
       the Committee, the Debtors, the Debtors’ professionals, potential purchasers, and other
       parties in interest regarding the sale of substantially all of the Debtors’ assets ; (ii) analyzed,
       negotiated, and revised proposed agency and asset purchase agreements, the proposed sale
       process, the proposed sale order, and all related pleadings; (iii) advised the Committee with
       respect to the proposed sale process and coordinated with various parties in interest
       regarding same; (iv) worked with various contract counterparties to resolve objections and
       concerns in connection with agency and asset purchase agreements; (v) filed an objection
       to the Debtors’ bid procedures motion and prepared and attended hearings related thereto;
       (vi) analyzed with the Committee and its other professionals alternatives to Debtors’
       proposed sale process; (vii) reviewed objections and related documents submitted in
       connection with the sale process; (viii) communicated and negotiated with DSW Leased
       Business Division LLC dba Affiliated Business Group regarding concerns with sale
       process; (ix) communicated and coordinated with the purchaser regarding the sale
       transaction and closing, including, but not limited to, the transition and assumption of
       certain executory contracts and unexpired leases of nonresidential real property; and (x)
       addressed other post-sale order issues.




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 D.    Relief from Stay/Adequate Protection Proceedings
       Code: B140
       (Fees: $519.50/Hours Billed: 0.9)

       This category includes time spent by FBT reviewing and analyzing the motion for relief
       from the automatic stay filed by DSW Leased Business Division LLC dba Affiliated
       Business Group and communicating with Debtors’ counsel re same.

 E.    Meetings of and Communications with Creditors
       Code: B150
       (Fees: $18,646.26/Hours Billed: 41)

       This category includes time spent by FBT communicating with the Committee and other
       creditors concerning all aspects of these Chapter 11 Cases. During the Fee Period, FBT,
       communicated and conferred with the Committee regarding, among other things, strategy,
       case developments, status updates, filing of claims, selection of a financial advisor, the sale
       process, recently filed pleadings, and the plan process.

 F.    Fee/Employment Applications
       Code: B160
       (Fees: $25,481.14/Hours Billed: 85.2)

       This category includes time spent by FBT preparing, reviewing, and filing retention
       applications, monthly fee statements, certifications of no objection related thereto, and fee
       applications for Committee professionals.

 G.    Fee/Employment Objections
       Code: B170
       (Fees: $3,406.00/Hours Billed: 9.1)

       This category includes time spent by FBT reviewing retention applications and monthly
       fee statements filed by the Debtors’ professionals and discussing same with Debtors.

 H.    Avoidance Action Analysis
       Code: 180
       (Fees: $7,793.83/Hours Billed: 14.4)

       This category includes time spent by FBT analyzing potential avoidance claims and
       communicating with the Committee’s professionals and creditors regarding same.

 I.    Assumption/Rejection of Leases and Contracts
       Code: B185
       (Fees: $6,165.00/Hours Billed: 16.1)

       This category includes time spent by FBT related to the assumption or rejection of
       unexpired leases of nonresidential real property and executory contracts, including, but not

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       limited to, (i) reviewing and analyzing the designated rights leases; (ii) reviewing and
       analyzing the lease assumption and assignment process and notices related thereto; (iii)
       reviewing and analyzing the Debtors’ rejection procedures motion; (iv) communicating
       with the Committee, the Debtors, and other parties in interest regarding same; (v)
       conferring with counsel for landlords regarding assumption or rejection of leases, and
       addressing contract counterparties’ concerns and objections.

 J.    Other Contested Matters
       Code: 190
       (Fees: $6,618.62/Hours Billed: 11.5)

       This category includes time spent by FBT related to reviewing, analyzing and advising the
       Committee with respect to numerous potential and existing litigation-related and contested
       matters, including: communications and negotiations with the Committee, Debtors and
       Comenity Bank regarding Comenity Bank’s claims; and diligence and investigation of
       prepetition acts and conducts of the Debtors’ directors and officers.

 K.    Non-Working Travel
       Code: 195
       (Fees: $42,764.76/Hours Billed: 81.5)

       This category includes time spent traveling to and from meetings and court appearances by
       FBT in connection with its representation of the Committee on case matters.

 L.    Employee Benefits/Pensions
       Code: 220
       (Fees: $1,918.00/Hours Billed: 4.2)

       This category includes time spent reviewing and analyzing the Debtors’ KERP motion and
       communicating with the Committee and its professionals regarding same.

 M.    Financing/Cash Collections
       Code: 230
       (Fees: $17,254.19/Hours Billed: 40)

       This category includes time spent by FBT (i) reviewing and analyzing the Debtors’ cash
       collateral motion and all relevant financial documents related thereto; (ii) conducting legal
       research and due diligence relating to the appropriateness of the financing terms; (iii)
       advising the Committee on the terms of the financing, and discussing same with the
       Committee’s professionals; (iv) drafting the Committee’s objection thereto; (v) negotiating
       with the Debtors, lenders and various stakeholders regarding the cash collateral motion,
       financing terms, and final order; (vi) reviewing the Debtors’ budget and financial
       documents related thereto; (vii) revising the final order on cash collateral; (viii) attending
       hearings related thereto; and (ix) conferring with Debtors’ professionals regarding the
       Debtors’ cash usage pursuant to the budget.



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 N.    Board of Directors Matters
       Code: 260
       (Fees: $264.00/Hours Billed: 1.2)

       This category includes time spent by FBT communicating with the Committee
       concerning all aspects of these Chapter 11 Cases.

 O.    Claims Administration and Objections
       Code: 310
       (Fees: $34,340.60/Hours Billed: 65.9)

       This category includes time spent by FBT (i) reviewing Debtors’ claims procedures
       motion; (ii) reviewing and analyzing various claims filed in the Chapter 11 Cases; (iii)
       conferring with the Debtors, the Committee, the Committee’s professionals over status of
       claims; (iv) communicating with creditors regarding bar dates and claim filing process; and
       (v) reviewing the claims analysis of the Committee’s professionals.

 P.    Plan and Disclosure Statement
       Code: 320
       (Fees: $112,967.75/Hours Billed: 203.1)

       This category includes time spent by FBT related to the formulation of a proposed chapter
       11 plan and related disclosure statement. During the Fee Period, FBT spent time, among
       other things, (i) reviewing, negotiating, and revising the proposed chapter 11 plan and
       disclosure statement; (ii) corresponding and meeting with Debtors’ professionals and the
       Committee’s professionals regarding issues related thereto, including, but not limited to,
       the plan approval and solicitation process; (iii) analyzing and researching various legal
       issues related thereto; (iv) analyzing the valuation of unencumbered assets, possible causes
       of action and claims held by the Debtors’ estates, treatment of general unsecured claims,
       and reviewing the appropriateness of proposed releases; (v) reviewing analyses by
       Committee professionals regarding, among other things, plan terms, valuation issues, and
       solvency; (vi) corresponding with, discussing, and advising Committee on plan terms and
       proposed revisions; (vii) analyzing and discussing with Debtors’ professionals and
       Committee professionals the plan administrator role; (viii) reviewing, considering, and
       discussing with the Committee and its professionals plan administrator proposals; and (ix)
       addressing and resolving post-confirmation issues prior to the effective date.

 Q.    General Bankruptcy Advise/Opinions
       Code: 410
       (Fees: $2,138.00/Hours Billed: 3.7)

       This category includes time spent by FBT (i) reviewing and analyzing the Debtors’
       Schedules and Statements of Financial Affairs; (ii) conferring and corresponding with the
       Committee’s professionals regarding same; (iii) communicating with Debtors regarding
       outstanding issues; and (iv) reviewing and analyzing pleadings filed the Chapter 11 Cases.



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                                          FBT’S SERVICES

        21.      FBT was engaged by the Committee to act as its counsel and has provided, among

 other things, the following professional services:

              a. advise the Committee with respect to its rights, duties, and powers in these Chapter

                 11 Cases;

              b. assist the Committee in analyzing and negotiating with the Debtors and/or third

                 parties the use of cash collateral; the sale of substantially all of the Debtors’ assets;

                 the assumption or rejection of executory contracts and unexpired leases of

                 nonresidential real property; and the formulation of a chapter 11 plan;

              c. assist the Committee in investigating potential claims and/or causes of actions;

              d. represent the Committee at hearings and other proceedings; and

              e. assist the Committee in preparing pleadings and application as necessary to protect

                 and/or further the Committee’s interests and objections in these Chapter 11 Cases.

        22.      The professional services performed by FBT during the Fee Period were

 appropriate and necessary and were in the best interests of the Committee. The compensation

 requested is commensurate with the importance, complexity, and nature of the services provided.

 The services were performed in an appropriately expeditious and efficient manner.

        23.      The professional services performed by FBT during the Fee Period required an

 aggregate expenditure of 1026.2 recorded hours by FBT professionals.

        24.      During the Fee Period, FBT’s hourly billing rates for attorneys ranged from

 $580.00 to $220.00 per hour. These fees and rates are reasonable based on the customary

 compensation charged by comparably skilled practitioners in bankruptcy cases in this District.




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                       ACTUAL AND NECESSARY EXPENSES OF FBT

        25.       As set forth in Exhibit C hereto, FBT disbursed $14,971.61 for expenses during

 the Fee Period.

        26.       The actual expenses incurred were necessary, reasonable, and justified under the

 circumstances.

              ATTORNEY STATEMENT PURSUANT TO UST GUIDELINES

        27.       The following statement is provided pursuant to the UST Guidelines.

 Question: Did you agree to any variations from, or alternatives to your standard or customary
 billing rates, fees, or terms for services pertaining to this engagement that were provided during
 the application period? If so, please explain.

 Response: No.

 Question: If the fees sought in this fee application as compared to the fees budgeted for the time
 period covered by this fee application are higher by 10% or more, did you discuss the reasons for
 the variation with the client?

 Response: N/A.

 Question: Have any of the professionals included in this fee application varied their hourly rates
 based on the geographic location of the bankruptcy case?

 Response: No.

 Question: Does the fee application include time or fees related to reviewing or revising time
 records or preparing, reviewing, or revising invoices? (This is limited to work involved in
 preparing and editing billing records that would not be compensable outside of bankruptcy and
 does not include reasonable fees for preparing a fee application.) If so, please quantify by hours
 and fees.

 Response: Yes. During the Fee Period, FBT expended 6.7 hours reviewing or revising time records
 for a charge of $1,902.00.

 Question: Does this fee application include time or fees for reviewing time records to redact any
 privileged or other confidential information? If so, please quantify by hours and fees.

 Response: No.

 Question: Does this fee application include rate increases since retention?


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 Response: No.

                     ALLOWANCE OF REQUESTED COMPENSATION

        28.      Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code to

 govern the Court’s award of such compensation. See 11 U.S.C. § 331. Section 330 provides that

 a court may award a professional employed under section 328 of the Bankruptcy Code “reasonable

 compensation for actual, necessary services rendered . . . and reimbursement for actual, necessary

 expenses.” See 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of

 such compensation and reimbursement:

                 In determining the amount of reasonable compensation to be awarded
                 . . . , the court should consider the nature, the extent, and the value of
                 such services, taking into account all relevant factors, including –

                          (A)   the time spent on such services;

                          (B)   the rates charged for such services;

                        (C)     whether the services were necessary to the
                 administration of, or beneficial at the time at which the service was
                 rendered toward the completion of, a case under this title;

                         (D)     whether the services were performed within a reasonable
                 amount of time commensurate with the complexity, importance, and
                 nature of the problem, issue, or task addressed;

                         (E)     with respect to a professional person, whether the person
                 is board certified or otherwise has demonstrated skill and experience in
                 the bankruptcy field; and

                         (F)    whether the compensation is reasonable based on the
                 customary compensation charged by comparably skilled practitioners in
                 cases other than cases under this title.

 11 U.S.C. § 330(a)(3).

        29.      Here, the services rendered by FBT and for which compensation is sought in this

 Application were necessary for, beneficial to, and in the best interests of, the Committee. FBT


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 worked diligently to maximize value of the Debtors’ estate for the benefit of all unsecured

 creditors. The services rendered by FBT were performed in a timely manner commensurate with

 the complexity, importance, and nature of the issues involved, and were reasonable in light of the

 value of such services to the Committee, FBT’s demonstrated skill and expertise in the bankruptcy

 field, and the customary compensation charged by comparable skilled practitioners.

        30.     All services for which FBT seeks compensation were performed for or on behalf of

 the Committee. FBT has received no payment and no promises for payment from any source other

 than the Debtors for services rendered in connection with the matters covered by this Application.

        31.     At all relevant times, FBT has been a disinterested person as the term is defined in

 section 101(14) of the Bankruptcy Code and has not represented or held an interested adverse to

 the Committee.

        32.       There is no agreement as to the sharing of any compensation to be paid to FBT,

 other than sharing among the members of FBT. Compensation previously paid to FBT has not

 been shared with any person, other than the members of FBT.

                        CERTIFICATION AND PRIOR APPLICATION

        33.     I hereby certify that the fees and expenses requested in this Application are in

 compliance with the requirements of the Interim Compensation Order, the Bankruptcy Code, the

 Bankruptcy Rules, and the Local Rules.

        34.     No prior application for the relief requested herein has been made to this Court or

 any other court.

                                 RESERVATION OF RIGHTS

        35.     It is possible that some professional time expended or expenses incurred during the

 Fee Period are not reflected in this Application. FBT reserves the right to include such amounts in

 a future fee application.
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                                            CONCLUSION

        WHEREFORE, FBT respectfully requests that this Court enter an order:

        (i)       awarding FBT allowance of fees for the Fee Period in the aggregate amount of

 $486,794.00;

        (ii)      awarding FBT allowance of expenses for the Fee Period in the aggregate amount

 of $14,971.61;

        (ii)      authorizing and directing the Debtors to pay FBT the unpaid balance of such

 amounts; and

        (iii)     granting such other relief as is just and proper.



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  Dated: December 6, 2017                   Respectfully submitted,

                                            /s/ Ronald E. Gold
                                            Ronald E. Gold, Esq. (admitted pro hac vice)
                                            Ohio Bar No. 0061351
                                            Douglas L. Lutz, Esq. (admitted pro hac vice)
                                            Ohio Bar No. 0064761
                                            A.J. Webb, Esq. (admitted pro hac vice)
                                            Ohio Bar No. 0093655
                                            FROST BROWN TODD LLC
                                            3300 Great American Tower
                                            301 East Fourth Street
                                            Cincinnati, Ohio 45202
                                            513-651-6800 Telephone
                                            513-651-6981 Facsimile
                                            rgold@fbtlaw.com
                                            dlutz@fbtlaw.com
                                            awebb@fbtlaw.com


                                            Counsel for the Official Committee of
                                            Unsecured Creditors




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                                 CERTIFICATE OF SERVICE

 I hereby certify that on December 6, 2017, I caused the filing of the foregoing with the Clerk of
 the Bankruptcy Court using the CM/ECF system, which was served on all parties receiving ECF
 notice in this case, and I further certify that on December 6, 2017, I caused the foregoing to be
 served via overnight delivery to the parties indicated below.

                                                     /s/ Ronald E. Gold

 Gordmans Stores, Inc.
 Attn: Andy Hall and James Brown
 1926 South 67th Street
 Omaha, Nebraska 68106
 Debtors

 Kirkland & Ellis LLP
 Attn: Brad Weiland and Jamie R. Netznik
 300 North LaSalle
 Chicago, Illinois 60654

 -and -

 Kutak Rock LLP
 Attn: Jeffrey T. Wegner and Lisa M. Peters
 1650 Farnam Street
 Omaha, Nebraska 68102
 Co-Counsel to the Debtors

 Office of the United States Trustee
 for the District of Nebraska
 Attn: Jerry L. Jensen
 111 South 18th Plaza, Suite 1148,
 Omaha, Nebraska 68102
 United States Trustee

 Riemer Braunstein LLP
 Attn: Steven Fox and Donald E. Rothman
 Seven Times Square, Suite 2506
 New York, New York 10036

 -and -

 Greenberg Traurig, LLP
 Attn: Jeffrey M. Wolf
 One International Place, Suite 2000
 Boston, Massachusetts 02110
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 -and -

 Croker Huck Kasher DeWitt Anderson &
 Gonderinger L.L.C.
 Attn: Robert Gonderinger
 2120 South 72nd Street, Suite 1200
 Omaha, Nebraska 68124
 Co-Counsel to the Administrative Agent

 Koley Jessen P.C., L.L.O.
 Attn: Brian J. Koenig
 1125 S. 103rd Street, Ste. 800
 Omaha, Nebraska 68124
 Co-Counsel to the Unsecured Creditors’ Committee
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                                         EXHIBIT A

                               Summary of Fees by Professionals

                                                                     Total
   Name of                            Title      Year      Hourly                Total
                       Dept.                                         Hours
 Professional                                   Admitted    Rate              Compensation
                                                                     Billed

                   Bankruptcy and    Member
Ronald E. Gold                                    1989     $580.00   290.7     $168,587.42
                    Restructuring

                   Bankruptcy and
Douglas L. Lutz                      Member       1991     $575.00   435.4     $250,264.52
                    Restructuring

                   Bankruptcy and   Associate
  A.J. Webb                                       2015     $220.00   170.3     $37,462.38
                    Restructuring


                   Bankruptcy and    Staff
Erin P. Severini                                  2002     $255.00    59.4     $15,093.68
                    Restructuring   Attorney

                   Bankruptcy and
Rudy G. Bublitz                     Paralegal
                   Restructuring/                          $140.00    12.4      $1,736.00
                     Litigation

  Bennett M.                         Summer
                                                           $175.00    29.0      $5,075.00
    Parker                            Intern


  Matthew R.                         Summer
                                                           $175.00    29.0      $5,075.00
   Wagner                             Intern

TOTAL                                                                1026.2    $483,294.00
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                                           EXHIBIT B

                           Summary of Time by Project Category

    Project                 Project Category                  Hours      Amount
     Code

    B110      Case Administration                                81.6   $37,534.06

    B120      Asset Analysis and Recovery                     167.4     $71,433.46

    B130      Asset Disposition                               199.4     $94,048.83

    B140      Relief from Stay/Adequate Protection               0.9     $519.50
              Proceedings

    B150      Meetings of and Communications with Creditors      41.0   $18,646.26

    B160      Employment and Fee Application                     85.2   $25,481.14

    B170      Fee/Employment Objections                          9.1     $3,406.00

    B180      Avoidance Action Analysis                          14.4    $7,793.83

    B185      Assumption/Rejection of Leases and Contracts       16.1    $6,165.00

    B190      Other Contested Matters                            11.5    $6,618.62

    B195      Non-Working Travel                                 81.5   $42,764.76

    B220      Employee Benefits/Pensions                         4.2     $1,918.00

    B230      Financing/Cash Collections                         40.0   $17,254.19

    B260      Board of Directors Matters                         1.2     $264.00

    B310      Claims Administration and Objections               65.9   $34,340.60

    B320      Plan and Disclosure Statement                   203.1     $112,967.75

    B410      General Bankruptcy Advice/Opinions                 3.7     $2,138.00

    TOTAL                                                     1026.2    $483,294.00
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                                      EXHIBIT C

                         Summary of Expenses/Disbursements

              Description                                Billed
              United Parcel Service – Next Day Air      $1,186.67
              United Parcel Services – Second Day Air   $10.31
              Reproductions                             $539.30
              Conference Call                           $71.46
              Postage                                   $71.69
              Pacer                                     $5.70
              Air Fare                                  $6,997.54
              Miscellaneous Exp.                        $29.90
              Reproductions Duplex                      $19.92
              Meals                                     $524.10
              Lodging                                   $4,471.34
              Transportation                            $235.61
              Taxi                                      $320.78
              Parking                                   $429.00
              Mileage                                   $18.94
              Color Reproductions                       $6.60
              Color Reproductions Duplex                $18.25
              Tabs                                      $2.00
              Spiral Binding                            $7.50
              CD Duplication                            $5.00
              TOTAL                                     $14,971.61
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                                                  EXHIBIT D

                                    Detailed Time Records for the Fee Period




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                                                                P.O. Box 5716
                                                         Cincinnati, OH 45201-5716
                                                               (513) 651-6800
                                                        Facsimile (513) 651-6981
                                                       www.frostbrowntodd.com

            Official Committee of Unsecured Creditors of Gordmans                                      FED. ID# XX-XXXXXXX
            Stores, Inc.                                                                                   April 27, 2017
            Attn: Jeffrey N. Pomerantz                                                                Invoice # 11103075
            10100 Santa Monica Boulevard, 11th Floor                                          Account # 0135890.0646308
            Los Angeles, CA 90067-4100



REGARDING: Gordmans Stores Chapter 11 Cases

For Professional Services Rendered Through March 31, 2017                                                    $139,530.50
            Other Charges Through March 31, 2017                                                               $7,331.20

                             TOTAL THIS INVOICE                                                              $146,861.70




                                                        *Matter Invoiced Totals
                                                                                     Year-To-Date         Since Inception
Fees                                                                                         0.00                    0.00
Other Charges                                                                                0.00                    0.00

TOTAL                                                                                       $0.00                   $0.00
*Totals do not include amounts from current invoice.




                                                       THANK YOU
                                           PAYMENT APPRECIATED WITHIN 30 DAYS
                                      PLEASE INCLUDE YOUR INVOICE NUMBER ON CHECK
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                                                                       Gordmans Stores Chapter 11 Cases
                                                                            Account # 0135890.0646308
                                                                                    Invoice # 11103075
                                         PHASE & TASK SUMMARY
PHASE      TASK     DESCRIPTION                                              HOURS         AMOUNT
B100       B110     Case Administration                                         16.10         5,731.00
B100       B120     Asset Analysis and Recovery                                   4.10        2,357.50
B100       B130     Asset Disposition                                          169.50        76,761.50
B100       B140     Relief from Stay/Adequate Protection Proceedings              0.90         519.50
B100       B150     Meetings of and Communications with Creditors               19.10         9,054.50
B100       B160     Fee/Employment Applications                                 23.40         5,117.50
B100       B170     Fee/Employment Objections                                     3.40         748.00
B100       B185     Assumption/Rejection of Leases and Contracts                  8.90        2,494.00
B100       B195     Non-Working Travel                                          54.00        26,892.50
                    TOTAL                                                      299.40     $129,676.00


B200       B230     Financing/Cash Collections                                  15.60         7,600.50
                    TOTAL                                                       15.60        $7,600.50


B300       B310     Claims Administration and Objections                          0.40         232.00
                    TOTAL                                                         0.40        $232.00


B400       B410     General Bankruptcy Advice/Opinions                            3.50        2,022.00
                    TOTAL                                                         3.50       $2,022.00


E100       E101     Copying                                                                      52.70

E100       E102     Outside Printing                                                              8.00

E100       E102     Outside Printing                                                              5.00

E100       E106     Online Research                                                               4.65

E100       E107     Delivery services/Messengers                                                 68.91

E100       E110     Out-of-town Travel                                                        3,663.58

E100       E110     Out-of-town Travel                                                        3,217.55

E100       E111     Meals                                                                      280.91

E100       E124     Other                                                                        29.90

                    TOTAL                                                         0.00       $7,331.20




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                                                                                                  Gordmans Stores Chapter 11 Cases
                                                                                                       Account # 0135890.0646308
                                                                                                               Invoice # 11103075
                                                   ITEMIZED SERVICES

 DATE                                                                                            TMKR     HOURS       AMOUNT
03/16/17   (B100.B150 )       Conference re Committee selection of professionals and             AJW          1.20        264.00
           strategy for bid procedures.
03/16/17   (B100.B130 )        Conference with Debtors' counsel and financial advisor re         AJW          1.30        286.00
           alterations to bid procedures, possibility of going concern sale, and potential
           going concern offers.
03/16/17   (B100.B130 )         Research case law re bid protections and benefit to the estate   AJW          5.30       1,166.00
           (1.2); begin drafting bid procedures objection (2.1); review agency agreements
           in retail filings to determine similarity of provisions (2.0).
03/16/17   (B100.B160 )        Begin drafting retention application (1.4); review parties in     AJW          2.70        594.00
           interest for detailed conflicts searches (1.3).
03/16/17   (B100.B150 )       Participate in Committee call re selection of financial            DLL          1.70        977.50
           advisor and initial strategy for bid procedures and sale motion (.9); Conference
           calls with Committee chair and local counsel re retention and initial strategy
           (.4); conference call with Committee chair and Province re engagement issues
           and initial analysis issues (.4).
03/16/17   (B100.B130 )       Participate in conference call with Debtor's counsel,              DLL          2.30       1,322.50
           investment banker and financial advisor re initial analysis of sale process and
           potential bidders (1.1); conference call with Province and R. Gold re same and
           analysis of sale process timing (.5); review due diligence information re sale
           (.7).
03/16/17   (B100.B110 )      Review petition, first day motions and declaration in               EPS          1.50        382.50
           support; analyze key issues and proposed budget.
03/16/17   (B100.B110 )       Review local rules (.3); draft notice of appearance (.2).          EPS          0.50        127.50
03/16/17   (B100.B110 )       Prepare pro hac vice motions for A. Webb, R. Gold and D.           EPS          0.50        127.50
           Lutz.
03/16/17   (B100.B110 )       Work on Committee bylaws.                                          EPS          1.80        459.00
03/16/17   (B100.B110 )       Prepare UCC contact list.                                          EPS          1.00        255.00
03/16/17   (B100.B150 )      Attend committee meeting and interview of financial                 REG          1.90       1,102.00
           advisors and follow up issues re same.
03/16/17   (B100.B130 )      Attention to issues re bid procedures motion and follow up          REG          2.10       1,218.00
           with counsel for debtors re same.
03/16/17   (B100.B130 )       Review Duff & Phelps data room and certain documents.              REG          0.70        406.00
03/16/17   (B100.B150 )       Call with counsel for GGP re case issues.                          REG          0.60        348.00
03/16/17   (B100.B110 )       Call with local Nebraska counsel re case issues.                   REG          0.30        174.00
03/16/17   (B100.B110 )       Call and emails with Province team re case issues.                 REG          0.40        232.00
03/17/17   (B100.B130 )      Continued drafting of bid procedures objection (4.1);               AJW          6.90       1,518.00
           communications with committee re bid procedures objection (0.5); research
           case law re bid procedures objection (2.3).




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 DATE                                                                                        TMKR     HOURS       AMOUNT
03/17/17   (B100.B130 )        Prepare for and participate in call with Stage re bid         DLL          5.30       3,047.50
           procedures and status of offer (1.2); follow up conference calls with Province
           and Committee Chair (.7); conference call with J. Gordman Advisory re
           potential offer to purchase going concern (.8); conference call with Committee
           re status and analysis (.7); review and revise bid procedures objections (.4);
           several conference calls and emails with R. Gold re same, sale analysis and
           hearing preparation (.8); review Debtors bid procedures hearing exhibit filings
           (.7).
03/17/17   (B100.B110 )      Revise committee by-laws.                                       DLL          0.30        172.50
03/17/17   (B100.B110 )      Continue to work on committee bylaws.                           EPS          0.60        153.00
03/17/17   (B100.B110 )      Finalize contact list; create distribution list.                EPS          0.40        102.00
03/17/17   (B200.B230 )      Analyze and review isues relating to material terms of cash     EPS          2.00        510.00
           collateral motion and consent fee (1.7); send summary to R. Gold (.3).
03/17/17   (B100.B150 )     Emails with Committee members re contact list and                EPS          0.20          51.00
           afternoon meeting.
03/17/17   (B100.B130 )      Discuss and consider issues re bid procedures and sale          EPS          0.40        102.00
           process.
03/17/17   (B100.B130 )      Prepare materials for hearing on sale motion.                   EPS          0.30          76.50
03/17/17   (B100.B130 )       Attention to issues re proposed bidding procedures and         REG          2.40       1,392.00
           potential transaction with Tiger Capital.
03/17/17   (B100.B130 )      Work on objection to bidding procedures and alternative         REG          1.90       1,102.00
           time frame.
03/17/17   (B100.B130 )     Calls with numerous potential bidders and parties in interest    REG          1.60        928.00
           re process and UCC assistance.
03/17/17   (B100.B130 )     Calls with Committee advisors and issues re same and             REG          1.00        580.00
           projected expenses.
03/17/17   (B100.B150 )    Prepare for and participate on committee call and email           REG          1.10        638.00
           updates with Committee re status and strategy.
03/18/17   (B100.B130 )      Draft and revise bid procedures objection.                      AJW         10.30       2,266.00
03/18/17   (B100.B130 )      Review and analyze bid procedures (1.3); conference with        AJW          2.40        528.00
           Debtors' counsel re bid procedures (1.1).
03/18/17   (B100.B150 )      Communications with Committee re bid procedures and bid         AJW          0.60        132.00
           procedures objection.
03/18/17   (B100.B130 )       Review and respond to emails from R. Gold re bid               DLL          5.10       2,932.50
           procedures objection preparation and hearing preparation (.2); conference call
           with R. Gold and B. Koenig re hearing preparation issues (.6); conference in
           with R. Gold re same (.2); draft and revise objection to bid procedures (2.5);
           review agency agreement, bid procedures and motion re same (.6); emails to
           R. Gold and A. Webb re same (.3); conference with R. Gold re potential
           resolution of bid procedures objection (.2); review Committee updates re same
           (.2); emails to A. Webb re preparation of modified, limited objection based
           upon potential settlement (.3).




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                                                                                                           Invoice # 11103075
 DATE                                                                                        TMKR     HOURS       AMOUNT
03/18/17   (B100.B130 )      Draft and revise bid procedures objection.                      REG          3.50       2,030.00
03/18/17   (B100.B130 )       Draft revised bid procedures and email and call with counsel   REG          1.70        986.00
           for the debtors re same.
03/18/17   (B100.B130 )     Extended call with counsel for Tiger Capital re bid              REG          0.70        406.00
           procedures and proposed UCC revisions.
03/18/17   (B100.B130 )      Call with A. Graiser re real estate issues.                     REG          0.30        174.00
03/18/17   (B100.B130 )      Call with local counsel re bid procedures hearing and           REG          0.50        290.00
           prepare for same.
03/18/17   (B100.B130 )      Review landlords objections to bid procedures motion.           REG          0.40        232.00
03/18/17   (B100.B150 )      Update emails with Committee.                                   REG          0.30        174.00
03/19/17   (B100.B130 )     Draft and revise bid procedures objection (7.2); conference      AJW          9.10       2,002.00
           with B. Koenig re revisions to bid procedures and prepare for filing re same
           (1.2); communications with Debtors' counsel re bid procedures and suggested
           committee revisions (0.7).
03/19/17   (B100.B150 )      Communicate with Committee re bid procedures objection.         AJW          0.40          88.00
03/19/17   (B100.B130 )      Draft and revise bid procedures objection (1.5); draft and      DLL          2.10       1,207.50
           send emails to A. Webb and R. Gold re same (.6).
03/19/17   (B100.B195 )      Travel to Omaha for Bid Procedures hearing.                     DLL          6.00       3,450.00
03/19/17   (B100.B195 )      Travel from CVG to Omaha for hearings.                          REG          6.00       3,480.00
03/19/17   (B100.B130 )      Finalize bid procedures objection and email with UCC re         REG          1.80       1,044.00
           same.
03/19/17   (B100.B130 )      Email with counsel for Jeff Gordmans Advisory and review        REG          0.30        174.00
           declaration re same.
03/19/17   (B100.B150 )      Emails with Committee re status.                                REG          0.30        174.00
03/19/17   (B100.B130 )       Calls with Province and Chair of UCC re bid procedures         REG          0.70        406.00
           issues and strategies and emails with Province re same.
03/19/17   (B100.B130 )      Emails with counsel for Wells Fargo re bid procedures           REG          0.20        116.00
           issues.
03/19/17   (B200.B230 )    Attention to review of updated budget and related                 REG          0.50        290.00
           documents from clear thinking.
03/19/17   (B100.B130 )      Prepare for hearing on bid procedures.                          REG          1.50        870.00
03/20/17   (B100.B160 )       Draft FBT retention application and Gold affidavit to FBT      AJW          3.20        704.00
           retention application.
03/20/17   (B100.B110 )      Draft information sharing procedures motion and proposed        AJW          1.80        396.00
           order.
03/20/17   (B100.B150 )  Communications with Creditors Committee and individual              AJW          1.10        242.00
           members of Committee re bid procedures hearing.




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                                                                                                      Account # 0135890.0646308
                                                                                                              Invoice # 11103075
 DATE                                                                                           TMKR     HOURS       AMOUNT
03/20/17   (B100.B130 )       Prepare for and attend bid procedures hearing (7.5);              DLL         11.00       6,325.00
           negotiate, draft and revise bid procedures and bid procedures order with
           Debtor, Secured Lenders, Stalking Horse and Landlords (3.5).
03/20/17   (B100.B130 )       Prepare for and attend big procedures hearing, including          REG         11.00       6,380.00
           meetings with debtors and advisors, meetings with Tiger Capital and advisors,
           meetings with secured lenders and counsel (7.5); calls and emails with
           creditors re rebaked drafts (1.0); review and comment to revised drafts of
           procedures and procedures order (2.0); review objections filed (.5).
03/20/17   (B100.B150 )   Participate on Committee call and update email with                   REG          0.50        290.00
           committee members.
03/20/17   (B100.B130 )      Serve Objection to Bid Procedures Motion per A. Webb.              RGB          0.20          28.00
03/20/17   (B100.B160 )      Draft Application to Employ FBT as Counsel for UCC per             RGB          2.40        336.00
           A. Webb.
03/21/17   (B100.B130 )    Continued drafting of information sharing procedures                 AJW          1.80        396.00
           motion and proposed order to same.
03/21/17   (B100.B130 )      Continued work on Province and FBT retention                       AJW          0.90        198.00
           applications.
03/21/17   (B100.B130 )      Analysis and review of issues re upcoming auction and sale         AJW          1.30        286.00
           hearing.
03/21/17   (B100.B110 )      Review Province UCC presentation re sale, 4 week analysis          DLL          0.60        345.00
           and cash collateral issues (.6).
03/21/17   (B100.B195 )      Travel from Omaha for Bid Procedures hearings and                  DLL          6.00       3,450.00
           negotiations.
03/21/17   (B100.B150 )      Participate in UCC conference call (.8).                           DLL          0.80        460.00
03/21/17   (B100.B195 )      Travel from Omaha to Cincinnati.                                   REG          5.00       2,900.00
03/21/17   (B100.B130 )     Review and comment to revised drafts of bid procedures and          REG          1.20        696.00
           orders and review of comments from various constituents re same.
03/21/17   (B100.B130 )    Call and emails with counsel for debtor re bid procedures            REG          0.30        174.00
           order and documents.
03/21/17   (B100.B130 )      Calls with I. Gold and D. Branch re bid procedures issues.         REG          0.30        174.00
03/21/17   (B100.B160 )     Draft R. Gold Affidavit in Support of Application to Employ         RGB          1.10        154.00
           FBT as counsel for UCC per A. Webb.
03/22/17   (B200.B230 )      Attention to issues re cash collateral and final cash collateral   AJW          1.10        242.00
           order.
03/22/17   (B100.B130 )      Analysis and review of issues re upcoming auction and sale         AJW          1.20        264.00
           hearing.
03/22/17   (B100.B160 )       Continue to work on FBT and Province retention application        AJW          0.90        198.00
           and conflicts review.
03/22/17   (B100.B160 )       Conferences with A. Webb re preparation of Province               DLL          0.80        460.00
           retention application (.3); email to Province re same and conflict parties (.3);
           review and respond to Province email re same (.2).




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03/22/17   (B100.B130 )   Review entered bid procedures order (.2); review Notice of           DLL          0.60        345.00
           Proposed Cure Amounts re same (.4).
03/22/17   (B100.B130 )     Review Golfsmith and other cases re form of APA, Agency            DLL          1.30        747.50
           Agreement and Sale Order for combined strategic buyer and liquidator bid and
           transaction documents (1.1); conference with R. Gold re same (.2).
03/22/17   (B200.B230 )       Review and mark up of cash collateral order and financing        REG          1.70        986.00
           statement results.
03/22/17   (B200.B230 )      Call with S. Fox, J. Wolf and B. Keoning re cash collateral       REG          0.60        348.00
           issues.
03/22/17   (B200.B230 )      Attention to issues and review of DSW relationship.               REG          0.60        348.00
03/22/17   (B100.B150 )      Prepare for and participate on Committee call.                    REG          0.70        406.00
03/22/17   (B100.B150 )      Follow up calls and emails with various members of the            REG          0.40        232.00
           committee.
03/22/17   (B100.B130 )     Review of entered bid procedures order and call with               REG          0.90        522.00
           prospective bidders re same.
03/22/17   (B100.B185 )    Calls and emails with counsel for the debtor re insurance           REG          0.20        116.00
           brokerage agreement.
03/22/17   (B100.B185 )      Review of brokerage documents re same.                            REG          0.10          58.00
03/23/17   (B100.B160 )       Draft FBT retention application (1.7); draft Gold affidavit to   AJW          3.50        770.00
           retention application (0.9); revise Province retention application (0.9).
03/23/17   (B100.B185 )    Receipt and review of Silverstone agreement (.3); analyze           AJW          0.90        198.00
           proposed assumption of Silverstone agreement (.4); review proposed
           assumption motion (.2).
03/23/17   (B100.B130 )        Participate in conference call with Duff & Phelps re            DLL          0.80        460.00
           bidder/sale status.
03/23/17   (B100.B130 )     Review Golfsmith asset purchase agreement and agency               DLL          1.90       1,092.50
           agreement re Gordmans potential auction issues.
03/23/17   (B100.B110 )      Review Province draft retention application (.3); email to C.     DLL          0.80        460.00
           Cabello re same (.2); email to A. Webb re same (.1); email conflict party list to
           C. Cabello (Province) (.2).
03/23/17   (B200.B230 )      Call with Kirkland re cash collateral order issues.               REG          0.30        174.00
03/23/17   (B200.B230 )      Review draft final order of lenders.                              REG          0.30        174.00
03/23/17   (B200.B230 )      Mark up of comments and issues from interim cash                  REG          0.40        232.00
           collateral order.
03/23/17   (B200.B230 )      Call with local counsel re cash collateral interim order.         REG          0.20        116.00
03/23/17   (B100.B150 )      Numerous calls and emails with members of the UCC.                REG          0.60        348.00
03/23/17   (B300.B310 )       Call with L. Peters and J. Merchandise re Emma Trucking          REG          0.30        174.00
           issues and claims.
03/23/17   (B100.B130 )      Call with Province and debtors advisors re sale update.           REG          0.30        174.00




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03/23/17   (B100.B130 )      Call with possible transaction party.                            REG          0.20        116.00
03/23/17   (B100.B185 )      Attention to issues re Silverstone insurance contract.           REG          0.30        174.00
03/24/17   (B100.B185 )     Continued review of Silverstone agreement and proposed            AJW          0.80        176.00
           order assuming Silverstone agreement.
03/24/17   (B100.B150 )      Communications with Creditors Committee re Silverstone           AJW          1.20        264.00
           agreement.
03/24/17   (B100.B160 )      Continued drafting of Province and FBT retention                 AJW          0.70        154.00
           applications.
03/24/17   (B200.B230 )    Review and revise final cash collateral order (.6); review R.      DLL          1.10        632.50
           Gold and B. Koenig revisions re same (.3); emails to R. Gold re same (.2).
03/24/17   (B100.B110 )       Review Kirkland drafts of interim compensation motion,          DLL          1.10        632.50
           utilities motion and ordinary course professionals motion (.9); email to R.
           Gold and A. Webb re same (.2).
03/24/17   (B200.B230 )     Review and revise final cash collateral order and review          REG          2.70       1,566.00
           comments of local counsel re same.
03/24/17   (B200.B230 )    Call with P. Hyugens re final order and budget issues and          REG          0.40        232.00
           incorporate comments re same.
03/24/17   (B200.B230 )      Call with Kirkland re final cash collateral order.               REG          0.10          58.00
03/24/17   (B400.B410 )    Review retention applications of Kirkland, clear thinking          REG          0.50        290.00
           and Duff & Phelps.
03/24/17   (B400.B410 )      Emails with Committee professionals re same.                     REG          0.20        116.00
03/24/17   (B100.B150 )       Calls and emails with members of the UCC re specific case       REG          0.70        406.00
           issues and overall status updates.
03/24/17   (B100.B150 )      Calls with general unsecured creditors re specific case issues   REG          0.40        232.00
           and status updates.
03/24/17   (B100.B140 )      Review and analysis of DSW motion for relief from stay and       REG          0.40        232.00
           emails with Kirkland re same.
03/24/17   (B300.B310 )      Emails with L. Peters of Kutak re EMO Trans issues and           REG          0.10          58.00
           release of goods.
03/24/17   (B100.B110 )      Review of second day pleadings filed by debtors.                 REG          0.30        174.00
03/24/17   (B100.B160 )      Create Client Match List using conflict search results per A.    RGB          3.60        504.00
           Webb.
03/25/17   (B100.B150 )      Communications with Creditors Committee re recent filings        AJW          0.90        198.00
           by Debtors, including retention applications.
03/25/17   (B100.B110 )    Review filings by Debtors re utility motion, interim               AJW          1.20        264.00
           compensation motion, and retention applications.
03/27/17   (B100.B185 )     Attention to issues with re waiver of claims by Silverstone       AJW          1.10        242.00
           and assumption of Silverstone Agreement.
03/27/17   (B100.B110 )      Review and comment to second day motions drafted by              AJW          1.10        242.00
           Debtors.




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03/27/17   (B100.B110 )       Prepare for and participate in two (2) status calls re sale and   DLL          0.90        517.50
           other issues with Province.
03/27/17   (B100.B185 )       Review DSW objection to cure amount.                              DLL          0.30        172.50
03/27/17   (B100.B140 )       Review DSW relief from stay motion.                               DLL          0.50        287.50
03/27/17   (B100.B160 )       Review K&E retention application and affidavit.                   DLL          0.50        287.50
03/27/17   (B100.B185 )     Review Wells Fargo revisions to motion to assume                    DLL          0.50        287.50
           Silverstone Agreement (.4); email to R. Gold and A. Webb re same (.1).
03/27/17   (B100.B110 )       Two calls with FBT and Province re status issues.                 REG          0.50        290.00
03/27/17   (B100.B110 )       Call with FBT and Kirkland re several open issues.                REG          0.30        174.00
03/27/17   (B100.B130 )       Call with A. Graiser and M. Jericho re potential stage offer.     REG          0.30        174.00
03/27/17   (B100.B130 )     Calls with M. Snyder re Tiger bid and compliance with               REG          0.30        174.00
           procedures orders.
03/27/17   (B100.B130 )       Review email update from Province.                                REG          0.10          58.00
03/27/17   (B100.B130 )       Review bid procedures objections.                                 REG          0.40        232.00
03/27/17   (B100.B185 )       Call with D. Swetnam re DSW issues.                               REG          0.10          58.00
03/27/17   (B100.B160 )       Review and attention to issues re Duff & Phelps application.      REG          0.30        174.00
03/27/17   (B100.B160 )       Review and revise FBT retention application.                      REG          0.40        232.00
03/27/17   (B100.B160 )     Finalize Client Match List exhibit to Employment                    RGB          2.20        308.00
           Application per A. Webb.
03/28/17   (B100.B195 )       Travel from Cincinnati to Omaha for auction.                      AJW          6.00       1,320.00
03/28/17   (B100.B170 )       Draft objection to Duff & Phelps employment application.          AJW          2.10        462.00
03/28/17   (B100.B185 )       Review, analyze, and compare cure objections.                     AJW          2.30        506.00
03/28/17   (B100.B130 )       Review Plum bid and analyze issues thereto; attention to          AJW          2.20        484.00
           issues re potential bids.
03/28/17   (B100.B195 )       Travel to Omaha for auction and hearing.                          DLL          4.50       2,587.50
03/28/17   (B400.B410 )      Review Schedules and Statements of Financial Affairs (1.1);        DLL          1.60        920.00
           conferences and emails with R. Gold and Province re tax assets, FF&E assets
           and 90 day preferences (.5).
03/28/17   (B100.B130 )       Conferences with R. Gold and Province re preparation for          DLL          3.30       1,897.50
           auction (1.2); review and revise Stage/Tiger Asset Purchase Agreement and
           Agency Agreement (2.1).
03/28/17   (B100.B130 )       Review and analysis and comment to bid of stage and jv and        REG          2.60       1,508.00
           emails related to same.
03/28/17   (B100.B150 )       Update to Committee re Stage bid for assets.                      REG          0.30        174.00
03/28/17   (B100.B195 )       Travel to Omaha from Cincinnati for auction and hearing.          REG          4.50       2,610.00
03/28/17   (B100.B130 )      Calls and emails with Kirkland, Tiger Capital and A&G and          REG          0.70        406.00
           Province re potential going concern bids.




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03/28/17   (B100.B130 )      Review cure objections and summary schedule re same.             REG          0.80        464.00
03/28/17   (B100.B150 )      Emails and calls with members of the UCC re update and           REG          0.50        290.00
           status.
03/28/17   (B400.B410 )      Review Schedules and Statements of Financial Affairs filed       REG          1.00        580.00
           by the separate debtors.
03/28/17   (B400.B410 )      Email to Kirkland re Duff & Phelps retention app issues.         REG          0.20        116.00
03/29/17   (B100.B130 )       Prepare for and attend auction and attention to numerous        AJW         10.50       2,310.00
           issues re revised Agency Agreement and Asset Purchase Agreement for going
           concern transaction.
03/29/17   (B100.B130 )    Review second revised form of Agency Agreement and                 AJW          1.30        286.00
           Asset Purchase Agreement.
03/29/17   (B100.B170 )      Continue drafting objection to Duff & Phelps retention           AJW          1.30        286.00
           application.
03/29/17   (B100.B185 )     Review and analyze additional cure objections and                 AJW          1.10        242.00
           assumption and assignment of executory contracts.
03/29/17   (B100.B130 )      Prepare for and attend auction including review, negotiation     DLL         10.50       6,037.50
           and finalizing Stage/JV APA, Agency Agreement and related agreements.
03/29/17   (B100.B130 )      Attend auction sale at Kutak Law Firm, numerous and              REG         10.50       6,090.00
           extended meetings with Stage and counsel, Tiger Capital and counsel, Debtors
           and counsel, review and comment to revised draft of APA and Agency
           Agreement.
03/29/17   (B100.B150 )      Calls and emails with UCC re sale update and UCC issues.         REG          1.00        580.00
03/29/17   (B100.B150 )      Calls with various creditors re sale issues and status issues.   REG          0.50        290.00
03/30/17   (B100.B130 )      Prepare for and attend status conference re auction.             AJW          1.70        374.00
03/30/17   (B100.B130 )    Detailed review of Asset Purchase Agreement (1.7);                 AJW          2.10        462.00
           communications with Committee counsel re same (.4).
03/30/17   (B100.B185 )     Attention to issues re assumption of leases and contracts in      AJW          0.70        154.00
           connection with sale transaction.
03/30/17   (B100.B160 )      Review and revise Province retention application (.6);           AJW          1.10        242.00
           revisions to Gold affidavit for FBT retention application (.5).
03/30/17   (B100.B130 )     Review and revise amended Stage/Liquidator JV Asset               DLL          2.40       1,380.00
           Purchase Agreement and Agency Agreement (1.5); emails and conferences
           with R. Gold, Debtors' counsel and Purchaser's counsel re same (.9).
03/30/17   (B100.B130 )      Prepare for and attend sale status conference.                   DLL          1.50        862.50
03/30/17   (B100.B120 )      Conference with Comenity Bank counsel and Debtors'               DLL          2.10       1,207.50
           counsel re Comenity Bank recoupment/setoff and issues re same (.3); emails to
           Debtors' counsel re Comenity Bank agreements and analysis (.4); review data
           room re Comenity Bank agreements/amortization schedules and related
           documents (.5); begin review of Comenity Bank Private Label Credit Card
           Agreement (.9).




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03/30/17   (B100.B150 )      Telephone conference with Indiana Distribution Center            DLL          0.20        115.00
           landlord counsel re sale/auction status.
03/30/17   (B100.B150 )      Telephone conference and email to DSW's counsel re status        DLL          0.20        115.00
           of sale/auction and hearing.
03/30/17   (B100.B110 )       Briefly review recent filings.                                  EPS          0.20          51.00
03/30/17   (B100.B130 )     Extended review and discussions of revised transaction            REG          3.00       1,740.00
           documents, including calls and emails with Province, M. Snyder and Cravath
           Law Firm.
03/30/17   (B100.B130 )     Review of revised transaction and documents and calls and         REG          2.90       1,682.00
           emails re same with counsel for Tiger, Province, Stage Stores.
03/30/17   (B100.B130 )       Prepare for and attend status hearing re sale transaction.      REG          1.50        870.00
03/30/17   (B100.B150 )       Calls and emails with counsel for various landlords re status   REG          0.50        290.00
           and sale issues.
03/30/17   (B100.B150 )       Follow up with counsel for the debtors and counsel for Stage    REG          0.30        174.00
           re same.
03/31/17   (B100.B195 )       Travel from Omaha to Cincinnati.                                AJW          6.00       1,320.00
03/31/17   (B200.B230 )      Research for cash collateral objection (.9); communications      AJW          1.10        242.00
           with R. Gold re same (.2).
03/31/17   (B100.B185 )    Review of Silverstone assumption agreement (.3);                   AJW          0.50        110.00
           communications with R. Gold re Silverstone agreement (.2).
03/31/17   (B100.B130 )     Review and revise draft sale order (.5); conference with B.       DLL          0.90        517.50
           Koenig re same (.2); emails to R. Gold re same (.2).
03/31/17   (B100.B120 )        Review Comenity Bank Private Label Credit Card                 DLL          2.00       1,150.00
           Agreement, related agreements and demand letter re recoupment/setoff (1.0);
           conference call with L. Peters re analysis of same (.4); conference call with
           Debtor's counsel, Stage counsel and Comenity Bank counsel re
           litigation/settlement negotiations (.4); conference call and emails to B. Koenig
           re analysis and litigation issues re Comenity Bank recoupment actions (.2).
03/31/17   (B100.B195 )       Travel from Omaha to Cincinnati.                                DLL          5.00       2,875.00
03/31/17   (B100.B130 )       Numerous calls and emails with counsel re transaction           REG          1.00        580.00
           documents.
03/31/17   (B100.B130 )     Numerous calls and issues and comment to sale order, calls        REG          1.30        754.00
           and emails with Cravath and S. Fox and Kirkland re same.
03/31/17   (B200.B230 )       Draft cash collateral motion objection and revisions to same.   REG          2.20       1,276.00
03/31/17   (B100.B195 )       Travel from Omaha to Cincinnati.                                REG          5.00       2,900.00
03/31/17   (B200.B230 )       Call and emails with S. Fox.                                    REG          0.30        174.00
03/31/17   (B100.B130 )       Call with Cravath Law Firm re sale hearing issues.              REG          0.40        232.00
                                                                                                         318.90   $139,530.50


                                             PERSONNEL FEE SUMMARY



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INIT       NAME                                       RANK                     HOURS                 RATE     AMOUNT
REG        Gold, Ronald E                             Member                     108.60              580.00     62,988.00
DLL        Lutz, Douglas L.                           Member                      86.50              575.00     49,737.50
AJW        Webb, Adam J                               Associate                  104.90              220.00     23,078.00
EPS        Severini, Erin P                           Staff Attorney               9.40              255.00      2,397.00
RGB        Bublitz, Rudy G                            Paralegal                    9.50              140.00      1,330.00
           TOTAL                                                                 318.90                       $139,530.50


                                             ITEMIZED COSTS

DATE                              DESCRIPTION                                                                 AMOUNT
03/17/17       Air Fare           Airfare - D Lutz - Round trip airfare from Cincinnati to Omaha for Bid          574.10
                                  Procedures Hearing March 20 and 21, 2017.
03/19/17       Meals              Dinner - R Gold - Travel expenses to Omaha to attend Bid Processing                67.22
                                  Hearing. Douglas L. Lutz
03/19/17       Taxi Service       Taxi - D Lutz - Cab from Omaha airport to Courtyard Marriott while in              20.00
                                  Omaha for Bid Procedures Hearing March 20 and 21, 2017.
03/19/17       Lodging            Lodging - D Lutz - Hotel expenses at Courtyard Marriott while in                172.51
                                  Omaha for Bid Procedures Hearing March 20 and 21, 2017.
03/20/17       Meals              Hotel - Meals Other - R Gold - Travel expenses to Omaha to attend Bid               4.00
                                  Processing Hearing.
03/20/17       Meals              Hotel - Meals Other - R Gold - Travel expenses to Omaha to attend Bid               3.00
                                  Processing Hearing.
03/20/17       Air Fare           Airfare - R Gold - Travel expenses to Omaha to attend Bid Processing           1,089.10
                                  Hearing.
03/20/17       Lodging            Lodging - D Lutz - Hotel expenses at Courtyard Marriott while in                184.33
                                  Omaha for Bid Procedures Hearing March 20 and 21, 2017.
03/21/17       Air Fare           Change Ticket Fee - A Webb - Omaha Trip for the Gordmans Bid                       52.22
                                  Procedures Hearing.
03/21/17       Air Fare           Change Ticket Fee - A Webb - Omaha Trip for the Gordmans Bid                       49.44
                                  Procedures Hearing.
03/21/17       Air Fare           Change Ticket Fee - A Webb - Omaha Trip for the Gordmans Bid                       32.00
                                  Procedures Hearing.
03/21/17       Air Fare           Change Ticket Fee - A Webb - Omaha Trip for the Gordmans Bid                    200.00
                                  Procedures Hearing.
03/21/17       Air Fare           Airfare - A Webb - Omaha Trip for the Gordmans Bid Procedures                   813.08
                                  Hearing.
03/21/17       Air Fare           Airfare - R Gold - Travel to Omaha to attend Gordmans Auction and               815.60
                                  Hearing.




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03/21/17   Taxi Service             Taxi - R Gold - Travel expenses to Omaha to attend Bid Processing                  16.00
                                    Hearing.
03/21/17   Lodging                  Lodging - R Gold - Travel expenses to Omaha to attend Bid Processing            356.84
                                    Hearing.
03/21/17   Parking                  Parking - R Gold - Travel expenses to Omaha to attend Bid Processing               33.00
                                    Hearing.
03/21/17   Parking                  Parking - D Lutz - Parking at Cincinnati airport for travel to Omaha for           33.00
                                    Bid Procedures Hearing March 20 and 21, 2017.
03/28/17   Air Fare                 Change Ticket Fee - A Webb - Omaha Trip for the Gordmans Bid                       38.04
                                    Procedures Hearing.
03/28/17   Miscellaneous Exp.       Internet - A Webb - Omaha Trip for the Gordmans Bid Procedures                      9.95
                                    Hearing.
03/28/17   Taxi Service             Car Service - A Webb - Omaha Trip for the Gordmans Bid Procedures                  22.31
                                    Hearing.
03/28/17   Parking                  Hotel - Parking - R Gold - Travel to Omaha to attend Gordmans Auction              15.00
                                    and Hearing.
03/29/17   Meals                    Dinner - R Gold - Travel to Omaha to attend Gordmans Auction and                206.69
                                    Hearing. Douglas L. Lutz, Adam J (A.J.) Webb
03/29/17   Parking                  Hotel - Parking - R Gold - Travel to Omaha to attend Gordmans Auction              30.00
                                    and Hearing.
03/30/17   Lodging                  Lodging - R Gold - Travel to Omaha to attend Gordmans Auction and              1,001.66
                                    Hearing.
03/30/17   Parking                  Hotel - Parking - R Gold - Travel to Omaha to attend Gordmans Auction              15.00
                                    and Hearing.
03/31/17   Miscellaneous Exp.       Internet - A Webb - Omaha Trip for the Gordmans Bid Procedures                     19.95
                                    Hearing.
03/31/17   Taxi Service             Car Service - A Webb - Omaha Trip for the Gordmans Bid Procedures                  10.60
                                    Hearing.
03/31/17   Lodging                  Lodging - A Webb - Omaha Trip for the Gordmans Bid Procedures                  1,001.66
                                    Hearing.
03/31/17   Transportation           Car Rental - R Gold - Travel to Omaha to attend Gordmans Auction and            235.61
                                    Hearing.
03/31/17   Mileage                  Mileage - 35.40 Miles - A Webb - Omaha Trip for the Gordmans Bid                   18.94
                                    Procedures Hearing.
03/31/17   Parking                  Parking - A Webb - Omaha Trip for the Gordmans Bid Procedures                      60.00
                                    Hearing.
03/31/17   Parking                  Parking - R Gold - Travel to Omaha to attend Gordmans Auction and                  60.00
                                    Hearing.


                                            SUMMARIZED COSTS




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                                                                             Account # 0135890.0646308
                                                                                     Invoice # 11103075
DESCRIPTION                                                     QTY         PER UNIT           TOTAL
Reproductions                                                  527.00             0.10            52.70
Pacer                                                           31.00             0.15             4.65
CD Duplication                                                   1.00             5.00             5.00
Spiral Binding                                                   4.00             1.50             6.00
Tabs                                                            10.00             0.20             2.00
TOTAL                                                                                           $70.35



                                                              TOTAL COSTS                    $7,331.20




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                                                                P.O. Box 5716
                                                         Cincinnati, OH 45201-5716
                                                               (513) 651-6800
                                                        Facsimile (513) 651-6981
                                                       www.frostbrowntodd.com

          Official Committee of Unsecured Creditors of Gordmans                                        FED. ID# XX-XXXXXXX
          Stores, Inc.                                                                                      May 26, 2017
          Attn: Jeffrey N. Pomerantz                                                                  Invoice # 11108822
          10100 Santa Monica Boulevard, 11th Floor                                            Account # 0135890.0646308
          Los Angeles, CA 90067-4100



REGARDING: Gordmans Stores Chapter 11 Cases

For Professional Services Rendered Through April 30, 2017                                                      $72,413.50
            Other Charges Through April 30, 2017                                                                $5,100.76

                             TOTAL THIS INVOICE                                                                $77,514.26

Outstanding Invoices (see page 2 for details - if already paid please disregard)                                  27,906.10


Total Amount Due (Includes Outstanding Invoices)                                                                $105,420.36




                                                        *Matter Invoiced Totals
                                                                                     Year-To-Date          Since Inception
Fees                                                                                   139,530.50              139,530.50
Other Charges                                                                             7,331.20                7,331.20

TOTAL                                                                                 $146,861.70             $146,861.70
*Totals do not include amounts from current invoice.




                                                       THANK YOU
                                           PAYMENT APPRECIATED WITHIN 30 DAYS
                                      PLEASE INCLUDE YOUR INVOICE NUMBER ON CHECK
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                                                                                Invoice # 11108822
                         RECAP OF OUTSTANDING INVOICES

Invoice Date      Invoice Number                                                          Balance
04/30/17          11103075                                                               27,906.10
                  TOTAL                                                                 $27,906.10




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                                                                                    Invoice # 11108822
                                         PHASE & TASK SUMMARY
PHASE      TASK     DESCRIPTION                                              HOURS         AMOUNT
B100       B110     Case Administration                                         26.50        13,207.00
B100       B120     Asset Analysis and Recovery                                   8.90        4,941.50
B100       B130     Asset Disposition                                           25.90        14,982.50
B100       B150     Meetings of and Communications with Creditors                 5.70        2,759.50
B100       B160     Fee/Employment Applications                                 17.30         5,560.50
B100       B170     Fee/Employment Objections                                     5.30        2,462.00
B100       B185     Assumption/Rejection of Leases and Contracts                  6.50        3,409.00
B100       B195     Non-Working Travel                                          23.00        13,287.50
                    TOTAL                                                      119.10       $60,609.50


B200       B220     Employee Benefits/Pensions                                    4.20        1,918.00
B200       B230     Financing/Cash Collections                                  23.30         9,016.00
                    TOTAL                                                       27.50       $10,934.00


B300       B310     Claims Administration and Objections                          0.20         116.00
B300       B320     Plan and Disclosure Statement(including Business              1.10         638.00
                    TOTAL                                                         1.30        $754.00


B400       B410     General Bankruptcy Advice/Opinions                            0.20         116.00
                    TOTAL                                                         0.20        $116.00


E100       E101     Copying                                                                       6.72

E100       E101     Copying                                                                      37.80

E100       E102     Outside Printing                                                             19.75

E100       E106     Online Research                                                               1.05

E100       E107     Delivery services/Messengers                                                 69.95

E100       E110     Out-of-town Travel                                                        2,784.96

E100       E110     Out-of-town Travel                                                        1,937.34

E100       E111     Meals                                                                      243.19

                    TOTAL                                                         0.00       $5,100.76




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                                                  ITEMIZED SERVICES

 DATE                                                                                        TMKR     HOURS       AMOUNT
04/01/17   (B100.B170 )      Draft objection to Duff & Phelps retention application.         AJW          1.20        264.00
04/01/17   (B200.B230 )      Draft objection to entry of final cash collateral order.        AJW          3.20        704.00
04/01/17   (B100.B110 )      Email to Kirkland re open issues.                               REG          0.20        116.00
04/01/17   (B100.B130 )     Extended call with counsel for landlords re apa, agency          REG          0.40        232.00
           agreement and assumption and assignment issues.
04/02/17   (B200.B230 )      Draft objection to entry of final cash collateral order.        AJW          2.80        616.00
04/02/17   (B100.B120 )       Review B. Koenig analysis of Comenity Bank turnover            DLL          0.40        230.00
           issues (.2); emails to B. Koenig and R. Gold re same (.2).
04/02/17   (B200.B230 )       Review and analyze cash collateral fee issue and research      EPS          3.50        892.50
           cash collateral fees in similar retail cases.
04/02/17   (B100.B130 )     Call with counsel for debtor and counsel for Stage re email      REG          0.50        290.00
           from landlord counsel re sale and assignment issues.
04/02/17   (B100.B130 )      Call with counsel for GGP re sale issues.                       REG          0.30        174.00
04/02/17   (B200.B230 )      Attention to issues re cash collateral objection.               REG          1.20        696.00
04/02/17   (B100.B150 )      Two separate emails with UCC re case status issues.             REG          0.40        232.00
04/03/17   (B200.B230 )      Review and revise cash collateral objection.                    AJW          2.10        462.00
04/03/17   (B100.B120 )      Analyze issues re Comenity Bank.                                AJW          0.50        110.00
04/03/17   (B100.B120 )       Review Comenity response/recoupment letter and private         DLL          1.60        920.00
           label credit card agreements (.8); conference call with B. Koenig re
           preparation for call with Debtors' counsel and Comenity Bank's counsel (.3);
           conference call with B. Koenig and L. Peters (Debtors' counsel) re preparation
           for Comenity Bank call (.3); follow up with B. Koenig (.2).
04/03/17   (B200.B230 )     Review revised cash collateral order (.5); conferences and       DLL          0.70        402.50
           emails with R. Gold re same (.2).
04/03/17   (B400.B410 )      Review Kirkland reply email re Duff & Phelps issues.            REG          0.10          58.00
04/03/17   (B400.B410 )      Call with Kirkland re same.                                     REG          0.10          58.00
04/03/17   (B200.B230 )     Emails and calls with Province regarding completion of           REG          0.30        174.00
           inventory and impact.
04/03/17   (B200.B230 )      Emails from CTG re same.                                        REG          0.20        116.00
04/03/17   (B200.B230 )     Calls with counsel for Lenders re revisions to cash collateral   REG          0.90        522.00
           order and review of revised draft.
04/03/17   (B200.B230 )      Mark up of revised cash collateral order.                       REG          0.70        406.00
04/03/17   (B200.B230 )      Work re cash collateral objection.                              REG          0.70        406.00
04/03/17   (B200.B230 )      Calls and emails with Province re cash collateral order and     REG          0.50        290.00
           analysis re same.
04/03/17   (B200.B230 )      Email update with UCC chairs re cash collateral issues.         REG          0.10          58.00




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 DATE                                                                                        TMKR     HOURS       AMOUNT
04/03/17   (B100.B130 )      Calls and emails with Kirkland and Cravath re sale issues       REG          1.90       1,102.00
           and lease requirements and review of purchase agreements re same.
04/03/17   (B100.B130 )      Attention to Assignment of Lease issues, adequate assurance     REG          1.20        696.00
           issues and stub rent issues.
04/03/17   (B100.B150 )      Email updates with UCC and chairs of UCC.                       REG          0.40        232.00
04/04/17   (B100.B160 )      Revise and finalize Province and FBT retention applications.    AJW          1.10        242.00
04/04/17   (B200.B230 )      Revise cash collateral objection.                               AJW          1.20        264.00
04/04/17   (B100.B130 )       Review revised sale order (.5); review APA re Purchaser        DLL          1.10        632.50
           Cure Costs and payment of cure costs by Purchaser of Schedule 1.1(e)
           contracts (.4); emails to R. Gold re same and signoff on final sale order (.2).
04/04/17   (B100.B160 )    Review and revise FBT retention application (.4); email to        DLL          0.60        345.00
           A. Webb and R. Gold re revisions to same (.2).
04/04/17   (B100.B160 )     Review and revise Gold retention affidavit (.4); two (2)         DLL          1.00        575.00
           emails to A. Webb and R. Gold re revisions to same (.2); emails to R. Gold
           and A. Webb re revisions to affidavit re FBT hourly rate ranges (.4).
04/04/17   (B100.B160 )     Review proposed FBT retention order (.2); email to A.            DLL          0.30        172.50
           Webb re same (.1).
04/04/17   (B100.B195 )      Travel to Omaha for Sale Hearing.                               DLL          5.00       2,875.00
04/04/17   (B100.B195 )      Travel to Omaha for hearings on sale and cash collateral.       REG          5.00       2,900.00
04/04/17   (B200.B230 )      Revise and send comments to cash collateral order to            REG          0.60        348.00
           counsel for lenders.
04/04/17   (B200.B230 )      Review lenders revised version of cash collateral order.        REG          0.40        232.00
04/04/17   (B200.B230 )      Meeting with counsel for lender re cash collateral order.       REG          0.40        232.00
04/04/17   (B200.B230 )     Further review of agreed final cash collateral order and         REG          0.70        406.00
           emails with counsel re same.
04/04/17   (B100.B130 )       Attention to review of revised sale order and comments from    REG          1.60        928.00
           various parties to order re same.
04/04/17   (B100.B130 )     Attention to DSW issues, including extended call with all        REG          0.90        522.00
           parties re DSW issues and proposal.
04/04/17   (B100.B130 )      Follow up call with Province re DSW issues.                     REG          0.40        232.00
04/04/17   (B100.B130 )      Call with counsel for DSW re sale and agreement issues.         REG          0.30        174.00
04/04/17   (B100.B130 )      Follow up email re same to counsel for Debtors and lenders.     REG          0.20        116.00
04/04/17   (B100.B130 )      Call with CTG re DSW issues.                                    REG          0.30        174.00
04/04/17   (B100.B150 )      Attention to committee updates and communication.               REG          0.40        232.00
04/05/17   (B100.B130 )     Review Comenity Bank limited sale objection (.3); review         DLL          0.60        345.00
           proposed sale order language re same (.2); email to R. Gold re same (.1).
04/05/17   (B100.B130 )     Review revised sale order from Stage with explanation of         DLL          0.90        517.50
           comments (.7); emails to R. Gold re same (.2).




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 DATE                                                                                         TMKR     HOURS       AMOUNT
04/05/17   (B100.B130 )        Participate in negotiations with DSW re resolution of sale     DLL          5.30       3,047.50
           disputes (.8); review and revise sale order (.5); prepare for and attend sale
           hearing (2.8); conferences post-sale hearing re issues and finalizing sale order
           (1.2).
04/05/17   (B100.B130 )       Meetings at Kutak re sale preparation and meetings and          REG          4.00       2,320.00
           discussions re resolution of DSW issues including meeting with DSW outside
           counsel and principals of DSW on phone.
04/05/17   (B100.B130 )      Attend sale hearing.                                             REG          2.00       1,160.00
04/05/17   (B100.B130 )    Follow up meetings at Kutak to finalize orders and review          REG          1.50        870.00
           and comment re same.
04/05/17   (B100.B130 )      Emails with landlords re resolution of sale objections.          REG          0.50        290.00
04/06/17   (B100.B195 )      Travel from Omaha to Cincinnati re Sale Hearing.                 DLL          5.50       3,162.50
04/06/17   (B100.B110 )      Review draft of Province update to Committee (.6); emails        DLL          1.30        747.50
           to C. Cabello re questions and issues for revising Committee update (.4);
           review and respond to Province emails re same (.3).
04/06/17   (B200.B230 )        Review Wells Fargo payoff letter (.3); emails to Province re   DLL          0.70        402.50
           review of same (.2); review and respond to Province email re approval of
           payoff letter (.2).
04/06/17   (B100.B195 )      Travel from Omaha after sale hearing.                            REG          7.50       4,350.00
04/06/17   (B100.B130 )      Emails and review of revised sale order re final comments.       REG          0.70        406.00
04/06/17   (B100.B130 )      Emails with Tiger re expense reimbursement.                      REG          0.20        116.00
04/06/17   (B200.B230 )      Emails and review of Wells Fargo payoff letter and               REG          0.50        290.00
           discussion with Province re same.
04/06/17   (B100.B110 )       Extended call and follow up with P. Huygens from Province       REG          0.50        290.00
           re case strategy issues.
04/06/17   (B100.B110 )      Review draft of Province report.                                 REG          0.30        174.00
04/07/17   (B100.B160 )     Further revisions to Province and FBT retention applications      AJW          2.30        506.00
           (1.9); communications with FBT and local counsel re filing same (0.4).
04/07/17   (B200.B230 )        Review final version of case collateral order against prior    DLL          1.10        632.50
           versions re confirmation of acceptance of Committee issues (.8); email to
           Debtor and Wells Fargo re change of date to obtain entry of final cash
           collateral order to April 7 and Committee approval of order (.3).
04/07/17   (B100.B160 )        Review final versions of FBT retention application and         DLL          0.70        402.50
           declarations (.4); emails to A. Webb re filing procedure for same (.3).
04/07/17   (B100.B130 )      Emails and issues re closing and payoff letter.                  REG          0.90        522.00
04/07/17   (B200.B230 )      Final review and attention to cash collateral order and entry    REG          0.50        290.00
           and emails with lenders re same.
04/07/17   (B100.B170 )      Emails with Kirkland re Duff & Phelps.                           REG          0.30        174.00
04/07/17   (B100.B170 )      Review draft retention order and analysis re calculation of      REG          0.30        174.00
           fee.




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04/07/17   (B100.B170 )      Emails with Province re same.                                      REG          0.20        116.00
04/10/17   (B100.B120 )       Conference call with B. Koenig re Comenity Bank analysis          DLL          0.80        460.00
           and strategy re turnover of withheld credit card receipts (.3); review
           Comenity/Gordmans Private Card Label Agreement re analysis of same (.5).
04/10/17   (B100.B170 )       Attention to email and follow up re Duff & Phelps                 REG          0.40        232.00
           transaction fee issues as well as retention order re same.
04/10/17   (B100.B110 )    Attention to issues re DSW 9019 draft motion and review              REG          1.00        580.00
           and comment re same.
04/10/17   (B100.B110 )    Attention to emails re scheduling of informal meeting with           REG          0.10          58.00
           Debtors and Koley Law Firm for UCC.
04/10/17   (B100.B110 )      Emails with Province re committee update and follow up re          REG          0.30        174.00
           same.
04/10/17   (B100.B160 )      Review of draft orders re CTG, Kirkland and Kutak.                 REG          0.40        232.00
04/11/17   (B100.B120 )       Review Comenity Bank litigation hold letter (.2); email to B.     DLL          1.10        632.50
           Koenig re same (.2); review L. Peters emails re Comenity Bank investigation
           matters (.2); review L. Peters email re investigation facts and issues (.2);
           review and respond to email from B. Koenig to Comenity Bank counsel re
           litigation hold and settlement proposal (.3).
04/11/17   (B100.B110 )      Attention to case issues re sale order and final cash collateral   REG          0.30        174.00
           order.
04/11/17   (B100.B110 )      Attention to emails re informal meeting with UCC and               REG          0.20        116.00
           Debtors.
04/12/17   (B100.B120 )     Review emails from Comenity Bank counsel re litigation              DLL          0.40        230.00
           hold and response to settlement proposal (.2); emails to B. Koenig re same
           (.2).
04/12/17   (B100.B170 )      Call with Kirkland and Duff & Phelps re Duff & Phelps fee          REG          0.40        232.00
           issues and follow up re same.
04/12/17   (B100.B110 )      Email update from L. Peters re insurance retention and bank        REG          0.20        116.00
           account issues.
04/12/17   (B100.B110 )      Emails re status of DSW 9019 motion.                               REG          0.20        116.00
04/12/17   (B100.B110 )      Email from CTG (Marchese) re RCS and A&G proposal                  REG          0.10          58.00
           issues.
04/13/17   (B100.B160 )     Finalize Gordmans retention applications for FBT and                AJW          1.10        242.00
           Province re same; (0.8) instructions to R. Bublitz on filing same (0.2);
           communications with Province re same (0.1).
04/13/17   (B100.B110 )     Conference call with R. Gold and B. Koenig re 341 meeting           DLL          0.60        345.00
           prep, meeting with Gordmans executive team prep, review of Wells
           documents and Comenity Bank issues.
04/13/17   (B100.B170 )      Emails and further analysis re Duff & Phelps fees.                 REG          0.40        232.00
04/13/17   (B100.B170 )      Call with C. Cabello re same.                                      REG          0.10          58.00
04/13/17   (B100.B170 )      Update call with Kirkland re same.                                 REG          0.10          58.00




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04/13/17   (B200.B230 )     Call with Koley Jesson re lien and loan document review          REG          0.30        174.00
           and meeting with Debtors re same.
04/13/17   (B100.B150 )      Communications with committee re meeting and prepare for        REG          0.40        232.00
           same.
04/13/17   (B100.B160 )   Prepare and file Retention Application for Frost Brown             RGB          0.50          70.00
           Todd per A. Webb.
04/13/17   (B100.B160 )      Prepare and file Retention Application for Province, Inc. per   RGB          0.40          56.00
           A. Webb.
04/14/17   (B100.B150 )       Prepare for and participate in Committee status/update call    DLL          0.90        517.50
           (.7); review and respond to Province emails re additional update information
           (.2).
04/14/17   (B100.B110 )      Emails re DSW issues and 9019.                                  REG          0.30        174.00
04/14/17   (B100.B110 )      Attention to emails with Kirkland re case status and related    REG          0.30        174.00
           issues and follow up re same.
04/14/17   (B100.B160 )      Attention to professionals retention issues and email with      REG          0.30        174.00
           Koley re same.
04/14/17   (B100.B150 )      Attention to issues re committee meeting, agenda and related    REG          0.50        290.00
           committee issues.
04/14/17   (B100.B110 )     Emails with Province re case status and strategy issues and      REG          0.40        232.00
           follow up re same.
04/14/17   (B100.B110 )      Emails with counsel for lenders, S. Fox, re hearing and         REG          0.10          58.00
           related issue update.
04/15/17   (B100.B160 )      Attention to proposed orders to retention applications.         AJW          0.20          44.00
04/17/17   (B100.B160 )     Attention to email from R. Gold re monthly fee statement;        EPS          0.20          51.00
           review Interim Compensation Procedures Order.
04/17/17   (B100.B110 )      Attention to issues re DSW 9019 settlement motion re DSW        REG          0.50        290.00
           claims.
04/17/17   (B100.B110 )       Attention to emails and follow up issues with Province re      REG          0.40        232.00
           case issues and strategies.
04/18/17   (B100.B160 )      Attention to open issues re monthly fee statement; phone        EPS          0.20          51.00
           call with R. Gold re same.
04/18/17   (B100.B110 )      Extended call with counsel for Debtors re open and go           REG          0.70        406.00
           forward issues.
04/18/17   (B100.B110 )      Follow up with Province re call with counsel for Debtors        REG          0.90        522.00
           and discussion of open and go forward issues and attention to related issues.
04/18/17   (B100.B185 )      Review filings re leases designated for assumption.             REG          0.20        116.00
04/19/17   (B100.B110 )    Review bar date motion and amended OCP list (0.6);                AJW          1.20        264.00
           communications with FBT and Committee re suggested revisions to same
           (0.6).




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04/19/17   (B100.B110 )       Conference with A. Webb re potential revisions to bar date     DLL          0.80        460.00
           notice and order re time period to assert rejection damage claims and removal
           of deadline to assert premises liability claims (.2); review bar date notice re
           same (.3); review and respond to emails re same (.3).
04/19/17   (B100.B150 )      Review Committee update/status report.                          DLL          0.20        115.00
04/19/17   (B100.B150 )      Email update with UCC.                                          REG          0.30        174.00
04/19/17   (B100.B110 )   Extended call with B. Koenig re 341 meeting, interview with        REG          0.70        406.00
           senior management and case issues.
04/19/17   (B100.B185 )       Attention to proposed assignment order and call and email      REG          0.60        348.00
           with L. Peters re same.
04/19/17   (B100.B185 )      Call with counsel for GGP re assignment process.                REG          0.20        116.00
04/19/17   (B100.B185 )      Call with counsel for NPR re assignment issues and process.     REG          0.20        116.00
04/19/17   (B100.B110 )      Emails with CTG and Province re retention of A&G.               REG          0.30        174.00
04/19/17   (B100.B110 )      Review of revised ordinary course retention filing.             REG          0.30        174.00
04/19/17   (B100.B110 )      Review, emails and call with counsel for Debtors re bar date    REG          0.40        232.00
           motion.
04/20/17   (B100.B150 )      Communicate with Committee re supplemental assumption           AJW          0.70        154.00
           notices (.3); communicate with committee re KERP motion (0.4).
04/20/17   (B100.B185 )      Review supplemental notices of assumption.                      AJW          0.20          44.00
04/20/17   (B200.B220 )      Review and comment on Debtors' KERP motion.                     AJW          1.40        308.00
04/20/17   (B100.B150 )    Review Committee update re potential lease sale, bar date         DLL          0.20        115.00
           motion and 341 meeting update.
04/20/17   (B100.B185 )     Review and respond to R. Gold email re review of First           DLL          0.20        115.00
           Order approving post-closing assumption and Committee position re same.
04/20/17   (B200.B220 )       Review draft of KERP motion, motion to seal and exhibits       DLL          1.50        862.50
           (.6); emails to Province re review of same and comparison to KERPs in other
           cases (.3) review Province analysis (.3); emails to A. Webb re review of
           motion and communication to Committee re same (.3).
04/20/17   (B100.B110 )       Review update and analysis from B. Koenig re 341 meeting       DLL          0.60        345.00
           and interview with Debtor executive team re Wells Fargo and Comenity Bank
           (.4); email to B. Koenig re Comenity Bank issues (.2).
04/20/17   (B100.B160 )     Review and update pro forma in connection with first             EPS          1.90        484.50
           monthly fee statement.
04/20/17   (B100.B160 )      Phone call with C. Cabello re fee statement.                    EPS          0.10          25.50
04/20/17   (B100.B185 )      Attention to calls and emails with L. Peters and Province re    REG          0.90        522.00
           lease assignment issues and in particular, cure and year end reconciliation
           issues.
04/20/17   (B100.B110 )      Attention to issues re record retention.                        REG          0.40        232.00
04/20/17   (B100.B110 )      Call and email with L. Peters re same.                          REG          0.30        174.00




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                                                                                            Gordmans Stores Chapter 11 Cases
                                                                                                 Account # 0135890.0646308
                                                                                                         Invoice # 11108822
 DATE                                                                                      TMKR     HOURS       AMOUNT
04/20/17   (B100.B110 )      Call and emails with Province re same.                        REG          0.30        174.00
04/21/17   (B100.B110 )    Review administrative motions drafted by Debtors (1.7);         AJW          2.20        484.00
           communicate with Debtors' counsel re suggested revisions to same (0.5).
04/21/17   (B200.B220 )       Final review of KERP motion, motion to seal and proposed     DLL          1.30        747.50
           order (.9); emails to L. Peters re Committee consent to relief requested in
           KERP motion (.4).
04/21/17   (B100.B160 )      Draft FBT's monthly fee statement.                            EPS          1.60        408.00
04/21/17   (B100.B185 )      Attention to final revisions re lease assignment motion and   REG          0.40        232.00
           emails re same.
04/21/17   (B100.B185 )      Attention to landlord calls re assignment issues.             REG          0.40        232.00
04/21/17   (B100.B185 )     Attention to review and comment to lease rejection             REG          0.90        522.00
           procedures motion and call with L. Peters re same and emails re same.
04/21/17   (B100.B110 )      Attention to final review and issues re bar date motion and   REG          0.90        522.00
           email and calls with counsel re same.
04/21/17   (B100.B110 )      Call with B. Weiland re update issues and email to Province   REG          0.30        174.00
           re same.
04/22/17   (B100.B110 )      Review six administrative motions filed by the Debtors.       AJW          1.60        352.00
04/22/17   (B100.B110 )     Communicate with Creditors' Committee re six                   AJW          0.60        132.00
           administrative motions filed.
04/24/17   (B100.B110 )      Review recent filings by Debtors.                             AJW          0.30          66.00
04/24/17   (B100.B120 )       Review data room for D&O and other insurance policy          DLL          0.90        517.50
           issues (.3); review D&O riders (.6).
04/24/17   (B100.B160 )      Continue to work on monthly fee statement.                    EPS          0.70        178.50
04/24/17   (B100.B110 )      Attention to court filings re hearings on motions filed by    REG          0.30        174.00
           Debtors.
04/24/17   (B100.B120 )      Review Kooley Jesson retention app.                           REG          0.30        174.00
04/24/17   (B100.B130 )      Call with counsel for Brixmor re sale issues.                 REG          0.10          58.00
04/24/17   (B100.B130 )      Emails with G. Saydah, counsel for DDR, re sale issues.       REG          0.10          58.00
04/25/17   (B100.B170 )      Communications re Duff & Phelps fees and potential issues     AJW          0.30          66.00
           thereto.
04/25/17   (B100.B120 )      Telephone conference and email with Comenity Bank             DLL          0.40        230.00
           counsel re settlement proposal and related issues.
04/25/17   (B100.B120 )        Review Data Room re insurance policies and analysis of      DLL          1.50        862.50
           potential litigation claims.
04/25/17   (B100.B160 )      Attention to review of FBT pro forma.                         REG          0.30        174.00
04/25/17   (B100.B170 )       Emails and attention to issues re Duff & Phelps fee          REG          0.30        174.00
           application issues.




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 DATE                                                                                        TMKR     HOURS       AMOUNT
04/25/17   (B100.B185 )      Attention to review of entered order re leases assumed and      REG          0.10          58.00
           assigned.
04/25/17   (B100.B150 )      Attention to update email with Province.                        REG          0.20        116.00
04/26/17   (B100.B120 )       Draft and send email to B. Koenig re Comenity Bank status      DLL          0.60        345.00
           (.2); review and respond to emails re same (.2); email to Comenity Bank
           counsel re status (.2).
04/26/17   (B100.B110 )     Review Data Room re insurance documents, dividend                DLL          1.50        862.50
           document, Alix Partners analysis, and Duff & Phelps analysis (.8); review
           documents re same (.7).
04/26/17   (B100.B160 )      Continue to work on fee statement.                              EPS          0.30          76.50
04/26/17   (B100.B150 )      Call with counsel for Duff & Phelps re fee app issues.          REG          0.30        174.00
04/26/17   (B100.B185 )      Review emails and revised drafts re issues re lease rejection   REG          0.50        290.00
           motion.
04/26/17   (B100.B110 )      Extended calls with C. Cabello of Province re case issues.      REG          0.30        174.00
04/26/17   (B100.B110 )      Extended call with B. Weiland of Kirkland re case issues.       REG          0.40        232.00
04/27/17   (B100.B170 )      Receipt and review of Epiq March invoice.                       AJW          0.20          44.00
04/27/17   (B100.B150 )      Communicate with Committee professionals re Epiq March          AJW          0.20          44.00
           invoice.
04/27/17   (B100.B110 )      Review due diligence data room re retention of documents        DLL          1.90       1,092.50
           for claims review and review of potential actions (.6); conference in with R.
           Gold re same (.3); several conference calls with Electronic Discovery group re
           recovery and retention of data room documents (.7); emails to Electronic
           Discovery group re same (.3).
04/27/17   (B100.B160 )      Continue to work on FBT's first monthly fee statement.          EPS          0.60        153.00
04/27/17   (B100.B160 )      Attention to issues re FBT monthly fee statement.               REG          0.50        290.00
04/27/17   (B100.B170 )      Review Epiq March statement and email with Province re          REG          0.30        174.00
           same.
04/27/17   (B300.B310 )      Call from attorney M. Schaffer re administrative priority or    REG          0.20        116.00
           503(b)(9) claim of client.
04/27/17   (B100.B185 )      Call with I. Gold re stub rent and related case issues.         REG          0.30        174.00
04/27/17   (B100.B185 )      Follow up call with L. Peters re same.                          REG          0.20        116.00
04/28/17   (B100.B185 )        Review assumption and assignment notices filed by Debtors     AJW          0.80        176.00
           (0.6); attention to status of hearing on lease rejection procedures (0.2).
04/28/17   (B100.B150 )      Communicate with Committee re recent filings by Debtors.        AJW          0.60        132.00
04/28/17   (B100.B110 )      Several conference calls and emails with Electronic Data        DLL          1.10        632.50
           Discovery group re retention of data room documents and search abilities for
           investigation purposes.
04/28/17   (B100.B120 )      Telephone conference with Comenity Bank counsel re status       DLL          0.40        230.00
           of settlement discussions (.2); email re same (.2).




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 DATE                                                                                           TMKR         HOURS        AMOUNT
04/28/17      (B300.B320 )     Review draft plan provided by Kirkland.                           REG               1.10      638.00
04/28/17      (B100.B185 )     Review notices re assumption of leases and emails re same.        REG               0.40      232.00
04/28/17      (B100.B160 )     Work re FBT monthly fee statement.                                REG               0.30      174.00
04/28/17      (B100.B170 )     Attention to issues re Duff & Phelps fees and call with           REG               0.60      348.00
              counsel re same.
04/28/17      (B100.B170 )     Work re Epic March fees.                                          REG               0.20      116.00
04/28/17      (B100.B110 )      Extended call with P. Huygens of Province re case issues         REG               0.80      464.00
              and follow up re same.
04/28/17      (B100.B110 )     Email with L. Peters re bar date motion.                          REG               0.10        58.00
04/29/17      (B100.B160 )     Draft Province's first monthly fee statement.                     EPS               1.70      433.50
                                                                                                                 148.10   $72,413.50


                                              PERSONNEL FEE SUMMARY

INIT       NAME                                                RANK                        HOURS             RATE         AMOUNT
REG        Gold, Ronald E                                      Member                        66.70           580.00        38,686.00
DLL        Lutz, Douglas L.                                    Member                        43.70           575.00        25,127.50
AJW        Webb, Adam J                                        Associate                     26.00           220.00         5,720.00
EPS        Severini, Erin P                                    Staff Attorney                10.80           255.00         2,754.00
RGB        Bublitz, Rudy G                                     Paralegal                      0.90           140.00          126.00
           TOTAL                                                                            148.10                        $72,413.50


                                                      ITEMIZED COSTS

DATE                                       DESCRIPTION                                                                    AMOUNT
03/22/17       Air Fare                    Airfare - D Lutz - Airfare from Cincinnati, OH to Omaha, NE for client            954.60
                                           March 28-31, 2017.
03/28/17       Meals                       Hotel - Lunch - D Lutz - Lunch at hotel in Omaha, NE March 28, 2017                  6.00
03/28/17       Lodging                     Lodging - D Lutz - Lodging in in Omaha, NE for client March 28-29,                306.29
                                           2017
03/30/17       Lodging                     Lodging - D Lutz - Hotel expenses in Omaha, NE for client March 29-               306.29
                                           30, 2017.
03/31/17       Meals                       Dinner - D Lutz - Dinner March 30, 2017 Douglas L. Lutz, Ronald E                 188.85
                                           Gold, Adam J (A.J.) Webb
03/31/17       Lodging                     Lodging - D Lutz - Hotel March 30-31, 2017                                        184.48
03/31/17       Parking                     Parking - D Lutz - Parking at airport for client March 28-31, 2017.                 60.00




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                                                                                                        Invoice # 11108822
DATE                             DESCRIPTION                                                                   AMOUNT
04/01/17    Air Fare             Airfare - R Gold - Gordmans Sale Hearing                                          816.60
04/01/17    Air Fare             Airfare - D Lutz - Airfare for client meetings held in Omaha, NE                  566.56
04/04/17    Meals                Dinner - R Gold - Gordmans Sale Hearing                                              32.00
04/06/17    Meals                Dinner - R Gold - Gordmans Sale Hearing                                              16.34
04/06/17    Air Fare             Airfare - R Gold - Gordmans Sale Hearing                                          447.20
04/06/17    Taxi Service         Taxi - D Lutz - Cab (Happy Cab) from hotel to airport for client                     20.00
                                 meetings/hearing on April 4-6, 2017.
04/06/17    Lodging              Lodging - R Gold - Gordmans Sale Hearing                                          413.94
04/06/17    Lodging              Lodging - D Lutz - Hotel for client meetings/hearing on April 4-5, 2017.          206.97
04/06/17    Lodging              Lodging - D Lutz - Hotel for client meetings/hearing on April 5-6, 2017.          149.01
04/06/17    Parking              Parking - D Lutz - Parking at airport for client meetings/hearing on                 33.00
                                 April 4-6, 2017.
04/07/17    Taxi Service         Car Service - R Gold - Gordmans Sale Hearing                                         23.95
04/07/17    Lodging              Lodging - R Gold - Gordmans Sale Hearing                                          187.36
04/09/17    Taxi Service         Taxi - R Gold - Gordmans Sale Hearing                                                26.00
04/09/17    Parking              Parking - R Gold - Gordmans Sale Hearing                                             90.00


                                         SUMMARIZED COSTS

DESCRIPTION                                                                        QTY         PER UNIT           TOTAL
Reproductions                                                                    378.00                 0.10          37.80
Pacer                                                                               7.00                0.15           1.05
Reproductions Duplex                                                              84.00                 0.08           6.72
Color Reproductions Duplex                                                        73.00                 0.25          18.25
Spiral Binding                                                                      1.00                1.50           1.50
TOTAL                                                                                                              $65.32



                                                                               TOTAL COSTS                      $5,100.76




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                                                                P.O. Box 5716
                                                         Cincinnati, OH 45201-5716
                                                               (513) 651-6800
                                                        Facsimile (513) 651-6981
                                                       www.frostbrowntodd.com

            Official Committee of Unsecured Creditors of Gordmans                                      FED. ID# XX-XXXXXXX
            Stores, Inc.                                                                                    June 22, 2017
            Attn: Jeffrey N. Pomerantz                                                                Invoice # 11114110
            10100 Santa Monica Boulevard, 11th Floor                                          Account # 0135890.0646308
            Los Angeles, CA 90067-4100



REGARDING: Gordmans Stores Chapter 11 Cases

For Professional Services Rendered Through May 31, 2017                                                       $39,133.00
            Other Charges Through May 31, 2017                                                                   $382.77

                             TOTAL THIS INVOICE                                                               $39,515.77

Outstanding Invoices (see page 2 for details - if already paid please disregard)                                 42,388.80


Total Amount Due (Includes Outstanding Invoices)                                                                $81,904.57




                                                        *Matter Invoiced Totals
                                                                                     Year-To-Date         Since Inception
Fees                                                                                   211,944.00             211,944.00
Other Charges                                                                           12,431.96              12,431.96

TOTAL                                                                                 $224,375.96            $224,375.96
*Totals do not include amounts from current invoice.




                                                       THANK YOU
                                           PAYMENT APPRECIATED WITHIN 30 DAYS
                                      PLEASE INCLUDE YOUR INVOICE NUMBER ON CHECK
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                         RECAP OF OUTSTANDING INVOICES

Invoice Date      Invoice Number                                                          Balance
04/30/17          11103075                                                               27,906.10
05/30/17          11108822                                                               14,482.70
                  TOTAL                                                                 $42,388.80




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                                        PHASE & TASK SUMMARY
PHASE      TASK     DESCRIPTION                                              HOURS         AMOUNT
B100       B110     Case Administration                                         18.00         7,396.00
B100       B120     Asset Analysis and Recovery                                 44.00        17,589.00
B100       B130     Asset Disposition                                             0.90         522.00
B100       B150     Meetings of and Communications with Creditors                 4.30        1,428.00
B100       B160     Fee/Employment Applications                                 14.60         5,443.50
B100       B180     Avoidance Action Analysis                                     0.50         290.00
B100       B185     Assumption/Rejection of Leases and Contracts                  0.70         262.00
                    TOTAL                                                       83.00       $32,930.50


B200       B230     Financing/Cash Collections                                    0.60         348.00
                    TOTAL                                                         0.60        $348.00


B300       B310     Claims Administration and Objections                          0.40         230.00
B300       B320     Plan and Disclosure Statement(including Business            11.40         5,624.50
                    TOTAL                                                       11.80        $5,854.50


E100       E101     Copying                                                                    189.40

E100       E107     Delivery services/Messengers                                               121.68

E100       E108     Postage                                                                      71.69

                    TOTAL                                                         0.00        $382.77




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                                                                                                         Invoice # 11114110
                                                 ITEMIZED SERVICES

 DATE                                                                                      TMKR     HOURS       AMOUNT
05/01/17   (B100.B120 )      Conference call with Comenity Bank counsel re status of       DLL          0.70        402.50
           response to settlement offer (.3); follow up emails re same (.4).
05/01/17   (B100.B160 )      Phone call with C. Cabello re fee statement.                  EPS          0.10          25.50
05/01/17   (B100.B160 )      Continue to work on fee statements for FBT and Province.      EPS          0.40        102.00
05/01/17   (B100.B160 )      Emails with Kutak and Province re Epiq monthly fee            REG          0.40        232.00
           statement.
05/02/17   (B100.B110 )       Review insurance documents in data room re D&O policy        DLL          1.60        920.00
           information (.9); review information on claims in data room (.7).
05/02/17   (B200.B230 )      Review C. Cabello email and issues re financial model         REG          0.20        116.00
           update questions and issues.
05/02/17   (B100.B160 )      Email with UCC chairs and advisors re Duff & Phelps.          REG          0.20        116.00
05/02/17   (B100.B160 )      Call with counsel for Duff & Phelps re same.                  REG          0.10          58.00
05/03/17   (B100.B180 )      Emails from ASK and attention to issues re potential          REG          0.40        232.00
           avoidance actions.
05/04/17   (B100.B120 )      Telephone conference and follow up emails with Comenity       DLL          0.40        230.00
           Bank counsel re status of settlement proposal.
05/04/17   (B100.B110 )     Telephone conferences and emails with FBT electronic data      DLL          0.80        460.00
           discovery group re ability to search data room documents (.5); review data
           room documents re same (.3).
05/04/17   (B100.B160 )      Continue to work on and finalize FBT and Province monthly     EPS          0.30          76.50
           fee statements.
05/04/17   (B100.B120 )      Attention to emails from Province re document request         REG          0.40        232.00
           issues and financial oversight issues.
05/04/17   (B100.B120 )       Attention to issues re document production request and       REG          1.00        580.00
           analysis re dividend recapitalization investigation.
05/05/17   (B100.B110 )       Review orders entered by Bankruptcy Court with respect to    AJW          0.60        132.00
           procedural motions filed by Debtors, notice of assumption and assignment,
           and notice of rejection.
05/05/17   (B100.B150 )     Communicate with Committee re Bankruptcy Court orders          AJW          0.70        154.00
           on procedural motions filed by Debtors, as well as bar date motion, notice of
           assumption, and notice of rejection (0.5); additional communications with
           individual committee members re same (0.2).
05/05/17   (B100.B180 )      Call with B. Underhall of ASK.                                REG          0.10          58.00
05/05/17   (B100.B110 )      Call with L. Peters of Kutak re miscellaneous matters,        REG          0.30        174.00
           including bar date order, fee applications and procedures for handling cure
           payments.
05/05/17   (B100.B160 )      Review email and attachments from counsel for Duff &          REG          0.60        348.00
           Phelps.
05/05/17   (B100.B110 )      Review entered orders.                                        REG          0.20        116.00




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05/05/17   (B100.B110 )       Emails with Province re data requests and financial             REG          0.20        116.00
           reporting issues and inventory update.
05/08/17   (B100.B110 )      Review orders entered with respect to Debtors' procedural        AJW          0.60        132.00
           motions.
05/08/17   (B100.B150 )    Communicate with Committee re orders entered by                    AJW          0.40          88.00
           Bankruptcy Court on Debtor's procedural motions.
05/08/17   (B100.B160 )      Finalize and file monthly fee statements for Province and        EPS          0.50        127.50
           FBT.
05/08/17   (B100.B160 )      Briefly review monthly fee statements for Debtors' counsel.      EPS          0.20          51.00
05/08/17   (B100.B150 )     Send email to Committee members re monthly fee                    EPS          0.30          76.50
           statements and objection procedure.
05/08/17   (B100.B160 )      Attention to issues re March fee statements and review re        REG          1.00        580.00
           same.
05/08/17   (B100.B110 )      Attention to emails and issues re budget and projected end       REG          1.00        580.00
           cash.
05/09/17   (B100.B160 )      Analyze Duff & Phelps hourly fees and time entries.              AJW          1.30        286.00
05/09/17   (B100.B110 )      Extended call with P. Huygens re case issue and update.          REG          0.40        232.00
05/09/17   (B100.B150 )     Review Province financial update report to the UCC and            REG          0.40        232.00
           email with C. Cabello re same.
05/09/17   (B100.B160 )      Attention to issues re Duff & Phelps fee application.            REG          0.50        290.00
05/09/17   (B100.B160 )      Follow up re issues re Duff & Phelps fee application issues.     REG          0.50        290.00
05/09/17   (B200.B230 )      Attention to issues re Koley letter to S. Fox and follow up re   REG          0.40        232.00
           same.
05/09/17   (B100.B185 )    Attention to issues re lease assumptions and                       REG          0.30        174.00
           communications with UCC members re same.
05/09/17   (B100.B150 )      Attention to issues re committee update.                         REG          0.30        174.00
05/10/17   (B300.B320 )      Review and revise chapter 11 plan.                               AJW          0.40          88.00
05/10/17   (B100.B120 )      Email to B. Koenig re Comenity Bank status (.1); review          DLL          0.20        115.00
           and reply to B. Koenig re same (.1).
05/10/17   (B300.B320 )      Review R. Gold revisions to draft plan.                          DLL          0.50        287.50
05/10/17   (B300.B320 )      Call with P. Huygens and C. Cabello re plan document.            REG          0.30        174.00
05/10/17   (B300.B320 )      Review and mark up of draft plan.                                REG          1.80       1,044.00
05/11/17   (B100.B110 )        Review and revise motion to limit information sharing (0.8);   AJW          1.30        286.00
           communicate with FBT and Koley re same (0.2); attention to issues re
           certificate of service requirements (0.3).
05/11/17   (B100.B110 )      Review cash analysis from Province.                              DLL          0.40        230.00
05/11/17   (B300.B320 )      Review draft chapter 11 plan.                                    DLL          0.60        345.00




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                                                                                                  Account # 0135890.0646308
                                                                                                          Invoice # 11114110
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05/11/17   (B100.B110 )       Attention to issues re and discuss with A. Webb motion for    EPS          0.40        102.00
           an order clarifying procedures for providing access to confidential
           information.
05/11/17   (B300.B320 )   Attention to issues re review and comment to draft plan           REG          1.60        928.00
           provided by K&E and email re same.
05/11/17   (B100.B110 )      Attention to issues re motion to clarify access.               REG          0.20        116.00
05/11/17   (B100.B110 )      Review filings.                                                REG          0.20        116.00
05/11/17   (B100.B130 )      Attention to emails and issues re final inventory and follow   REG          0.40        232.00
           up re same.
05/12/17   (B100.B110 )    Finalize motion to limit information sharing (0.8);              AJW          0.90        198.00
           communicate with R. Bublitz re filing and serving same (0.1).
05/12/17   (B100.B150 )    Communicate with Committee re recent filings and                 AJW          0.60        132.00
           upcoming deadlines.
05/12/17   (B100.B110 )      Receipt and review of recent procedural filings by the         AJW          0.80        176.00
           Debtors.
05/12/17   (B300.B320 )      Research issues re third party releases and exculpation        AJW          1.20        264.00
           pursuant to chapter 11 plan.
05/12/17   (B300.B320 )       Review proposed revisions to plan and disclosure statement    DLL          1.20        690.00
           (.8); review and respond to emails re release/exculpation provisions of plan
           (.4).
05/12/17   (B100.B110 )      Attention to case filings and entered orders.                  REG          0.30        174.00
05/12/17   (B300.B320 )       Attention to emails from co-counsel and comments re plan      REG          1.10        638.00
           and attention to review of same and revised draft re same.
05/12/17   (B100.B160 )      Attention to Duff & Phelps fee issues.                         REG          0.20        116.00
05/12/17   (B100.B110 )     Prepare and file Motion and Notice for Order Clarifying         RGB          0.50          70.00
           Access to Information per A. Webb.
05/12/17   (B100.B110 )     Edit Master Service List and coordinate service of Motion       RGB          1.10        154.00
           and Notice for Order Clarifying Access to Information per A. Webb.
05/13/17   (B300.B320 )      Research issues re third party releases and exculpation        AJW          1.10        242.00
           pursuant to chapter 11 plan.
05/15/17   (B100.B110 )     Finalize service issues re motion to clarify information        AJW          0.30          66.00
           sharing procedures.
05/15/17   (B100.B120 )      Review data room information and documents re D&O              DLL          1.70        977.50
           insurance policy issues and review (.8); review D&O summary from Marsh
           (.4); review D&O and related insurance policy binder information (.3); email
           to R. Gold re same (.2).
05/15/17   (B300.B320 )       Conference call with R. Gold and Province re plan status      DLL          0.80        460.00
           and release issues (.4); review draft document request from Province (.4).
05/15/17   (B100.B160 )      Emails re Duff & Phelps fees.                                  REG          0.20        116.00




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                                                                                                    Account # 0135890.0646308
                                                                                                            Invoice # 11114110
 DATE                                                                                         TMKR     HOURS       AMOUNT
05/15/17   (B100.B110 )      Attention to issues re document retention and storage of         REG          0.50        290.00
           business records.
05/15/17   (B100.B110 )      Attention to Province emails and issues re transition issues.    REG          0.40        232.00
05/15/17   (B100.B110 )      Attention to document request issues re debtor business          REG          0.40        232.00
           records.
05/15/17   (B100.B110 )      Call with B. Weiland of K & E.                                   REG          0.20        116.00
05/15/17   (B100.B110 )      Draft and file certificate of service per A. Webb.               RGB          0.40          56.00
05/16/17   (B100.B110 )      Review and revise data/document request from Province.           DLL          0.80        460.00
05/16/17   (B100.B120 )      Review data room documents and information re Sun                DLL          1.00        575.00
           Capital and issues re dividend (.8); review and respond to R. Gold emails re
           same (.2).
05/16/17   (B100.B110 )     Attention to review of document request and supplement            REG          0.80        464.00
           same and analysis re same.
05/17/17   (B100.B120 )      Review Gordmans public filings and news re Sun Capital           DLL          1.20        690.00
           dividend recapitalization (1.1); emails to R.Gold and B. Koenig re same (.1).
05/17/17   (B100.B120 )      Conference call with R. Gold and B. Koenig re Province           DLL          1.60        920.00
           document request issues and claim investigation issues (.5); draft and respond
           to email from C. Cabello re document request for D&O insurance policies (.4);
           conference call with L. Peters re request for copies of D&O policies (.3); draft
           and send email to L. Peters re same (.4).
05/17/17   (B100.B120 )      Call with FBT and Koley reinvestigation issues and               REG          0.30        174.00
           strategies.
05/17/17   (B100.B120 )      Send C. Cabello follow up email re documents re same.            REG          0.10          58.00
05/18/17   (B100.B120 )       Review issues related to potential causes of action against     AJW          0.50        110.00
           officers and directors.
05/18/17   (B100.B120 )       Review statute of limitations research re Delaware breach of    DLL          2.40       1,380.00
           fiduciary duty and unlawful dividend law (.8); review standards for breach of
           fiduciary duty and unlawful dividend under Delaware law (.8); draft and send
           summary email to B. Koenig and R. Gold re same for investigation purposes
           (.5); emails to A. Webb re additional research issues (.3).
05/18/17   (B100.B120 )        Review email and attachments from B. Koenig re Gordmans        DLL          0.90        517.50
           Board of Directors timeline and decisions re dividends and other insider
           transfers (.6); review emails from B. Koenig re Gordmans World HQ issue
           (.3).
05/19/17   (B100.B110 )      Review pleadings filed in case by Debtors for impact on          AJW          1.10        242.00
           UCC.
05/19/17   (B100.B150 )      Communicate with Committee re recently filed pleadings by        AJW          0.40          88.00
           Debtors.
05/19/17   (B100.B120 )       Review and revise document request list re investigation        DLL          1.80       1,035.00
           (.6); review B. Koenig emails with D&O timeline and D&O listing (.5); emails
           to Province re document production status (.4); conference in with A. Webb re
           research issues for investigation (.3).




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05/19/17   (B100.B160 )      Call with counsel for Duff & Phelps re resolution and email        REG          0.10          58.00
           from counsel re same.
05/19/17   (B100.B150 )      Update UCC re same.                                                REG          0.10          58.00
05/19/17   (B100.B150 )      Review UCC update re new filings.                                  REG          0.20        116.00
05/22/17   (B100.B120 )       Review B. Koenig emails re SEC filings and list/summary           DLL          1.60        920.00
           of director relevant dates (.4); conference call with R. Gold and B. Koenig re
           preparation and status of D&O investigation (.6); conference with A. Webb re
           research issues for D&O investigation and potential claims (.2); draft and send
           email to Province re document request status (.2); review and respond to email
           re same (.2).
05/22/17   (B100.B120 )      Call re investigation issues and follow up re specific issues      REG          0.80        464.00
           of review.
05/22/17   (B100.B160 )      Attention to April FBT fee statement issues.                       REG          0.20        116.00
05/23/17   (B100.B120 )       Conference with and emails to A. Webb re investigation            DLL          1.60        920.00
           research issues (.4); review breach of duty and unlawful dividend statute of
           limitation research (.5); review Province document request (.4); emails to
           Province re status of request for information (.3).
05/23/17   (B100.B160 )      Review April pro forma.                                            EPS          1.10        280.50
05/23/17   (B100.B160 )      Draft and file certificates of no objection.                       EPS          0.30          76.50
05/23/17   (B100.B160 )      Attention to filings re March fee statements.                      REG          0.50        290.00
05/24/17   (B100.B150 )      Communicate with Committee re Gordmans bar date order.             AJW          0.50        110.00
05/24/17   (B100.B160 )      Analyze issues re revised FBT retention application.               AJW          0.90        198.00
05/24/17   (B100.B120 )       Review Province document request and B. Koenig directors          DLL          1.10        632.50
           listing and timeline in preparation for call with Debtor's counsel re
           investigation issues (.6); participate in conference call with Debtor's counsel re
           investigation issues (.3); follow up emails and conferences with R. Gold re
           same (.2).
05/24/17   (B100.B120 )       Review email from L. Peters with D&O policies and                 DLL          1.20        690.00
           conditions re use of same (.2); review tail policy documents and related
           information (.4); email to R. Gold re same (.2); review 2016-2017 main D&O
           policy (.4).
05/24/17   (B100.B160 )      Work on supplemental declaration in support of retention           EPS          0.90        229.50
           application.
05/24/17   (B100.B160 )      Email with counsel for Duff & Phelps .                             REG          0.10          58.00
05/24/17   (B100.B110 )      Call with K & E and Kutak re go forward case issues.               REG          0.80        464.00
05/24/17   (B100.B110 )      Attention to filed claims and UCC reminder re 6-5 bar date.        REG          0.30        174.00
05/24/17   (B100.B130 )      Email re Stage lease assumption update and follow up re            REG          0.30        174.00
           same.
05/25/17   (B100.B160 )      Analyze issues re revised FBT retention application.               AJW          0.30          66.00




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05/25/17   (B100.B120 )      Research statute and cases re the improper issuance of           BMP          0.70        122.50
           dividends.
05/25/17   (B100.B120 )      Research Delaware statutes and cases re waste claims.            BMP          0.70        122.50
05/25/17   (B100.B120 )      Review 2012 to 2016 D&O policies (.6); review run-off            DLL          1.10        632.50
           endorsement invoice and binder (.2); emails to L. Peters re request for run-off
           endorsement (.3).
05/25/17   (B100.B120 )       Conferences with M. Wagner, B. Parker and A. Webb re            DLL          0.90        517.50
           research issues for investigation (.6); emails to M. Wagner and B. Parker re
           research issues and meeting re same (.3).
05/25/17   (B100.B160 )     Review FBT supplemental retention application (.2); email         DLL          0.30        172.50
           to R. Gold re same (.1).
05/25/17   (B100.B160 )       Continue to work on supplemental declaration in support of      EPS          0.40        102.00
           retention application.
05/25/17   (B100.B160 )      Work on FBT's second monthly fee statement.                      EPS          0.30          76.50
05/25/17   (B100.B120 )      Research re breach of fiduciary duty by a board of directors     MRW          1.20        210.00
           to creditors.
05/25/17   (B100.B110 )      Call with B. Weiland of K & E.                                   REG          0.10          58.00
05/25/17   (B100.B120 )      Follow up on issues re call and investigation of pre petition    REG          0.60        348.00
           actions.
05/25/17   (B100.B110 )      Review case filings.                                             REG          0.10          58.00
05/25/17   (B100.B160 )      Attention to emails and review of Epic April statement.          REG          0.30        174.00
05/26/17   (B100.B120 )      Analysis of issues re potential claims against officers and      AJW          1.00        220.00
           directors.
05/26/17   (B100.B120 )       Research meeting with D. Lutz, A. Webb, and M. Wagner           BMP          0.50          87.50
           (associate) re research project.
05/26/17   (B300.B310 )     Review draft of omnibus claim objection procedure motion          DLL          0.40        230.00
           from Debtors' counsel.
05/26/17   (B100.B120 )       Conference in with M. Wagner, B. Parker and A. Webb re          DLL          0.80        460.00
           research issues related to D&O investigation (.5); follow up emails re research
           issues (.3).
05/26/17   (B100.B160 )      Work on and finalize second monthly fee statement.               EPS          0.60        153.00
05/26/17   (B100.B120 )      Research re director and officer fiduciary duty to creditors.    MRW          2.80        490.00
05/26/17   (B300.B320 )      Emails re potential plan administrator.                          REG          0.50        290.00
05/30/17   (B100.B185 )      Attention to status of assumption of designated rights leases.   AJW          0.40          88.00
05/30/17   (B100.B120 )      Research cases re corporate waste claim.                         BMP          2.90        507.50
05/30/17   (B100.B160 )      Finalize and file FBT's fee statement.                           EPS          0.20          51.00
05/30/17   (B100.B160 )      Draft Province's second monthly fee statement.                   EPS          0.60        153.00
05/30/17   (B100.B150 )      Send email to Committee co-chairs re FBT fee statement.          EPS          0.10          25.50




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 DATE                                                                                                TMKR         HOURS       AMOUNT
05/30/17      (B100.B160 )       Phone call and emails with C. Cabello re Province's fee              EPS             0.10          25.50
              statement.
05/30/17      (B100.B120 )      Review research and draft memo for A. Webb re fiduciary              MRW              5.70        997.50
              duties and equitable tolling.
05/30/17      (B100.B160 )       Attention to FBT, Koley and Province monthly fee                     REG             0.40        232.00
              statements.
05/30/17      (B300.B320 )     Attention to email from D. Gottlieb re plan administrator              REG             0.30        174.00
              proposal and CV.
05/31/17      (B100.B160 )       Review fee applications.                                             AJW             0.30          66.00
05/31/17      (B100.B120 )       Draft memo re corporate waste.                                       BMP             3.10        542.50
05/31/17      (B100.B160 )       Finalize and file Province's fee statement.                          EPS             0.20          51.00
05/31/17      (B100.B120 )       Review draft for A. Webb.                                           MRW              0.40          70.00
05/31/17      (B100.B130 )       Call with L. Peters re Stage update and follow up re same.           REG             0.20        116.00
05/31/17      (B100.B120 )       Attention to issues re investigation of pre-petition potential       REG             1.10        638.00
              cases of action.
05/31/17      (B100.B150 )       Call with Chair of UCC re case issues.                               REG             0.30        174.00
                                                                                                                     95.40     $39,133.00


                                                PERSONNEL FEE SUMMARY

INIT       NAME                                                   RANK                       HOURS                RATE        AMOUNT
REG        Gold, Ronald E                                         Member                          25.20           580.00        14,616.00
DLL        Lutz, Douglas L.                                       Member                          27.60           575.00        15,870.00
AJW        Webb, Adam J                                           Associate                       15.60           220.00         3,432.00
EPS        Severini, Erin P                                       Staff Attorney                   7.00           255.00         1,785.00
RGB        Bublitz, Rudy G                                        Paralegal                        2.00           140.00          280.00
BMP        Parker, Bennett M                                      Summer Intern                    7.90           175.00         1,382.50
MRW        Wagner, Matthew R                                      Summer Intern                   10.10           175.00         1,767.50
           TOTAL                                                                                  95.40                        $39,133.00


                                                         ITEMIZED COSTS

DATE                                         DESCRIPTION                                                                      AMOUNT
05/08/17       United Parcel Service         United Parcel Service -- Next Day Air to Jeffrey T. Wegner an, Kutak                   15.80
                                             Rock LLP
05/08/17       United Parcel Service         United Parcel Service -- Next Day Air to Andy Hall and James,                          15.80
                                             Gordmans Stores, Inc.




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DATE                                    DESCRIPTION                                                                 AMOUNT
05/08/17    United Parcel Service       United Parcel Service -- Next Day Air to Brad Weiland and Jam,                     12.05
                                        Kirkland & Ellis LLP
05/08/17    United Parcel Service       United Parcel Service -- Next Day Air to Steven Fox and Donal, Riemer              14.83
                                        Braunstein LLP
05/08/17    United Parcel Service       United Parcel Service -- Next Day Air to Jerry L. Jensen, US Trustee               15.80
                                        District of Nebr
05/08/17    United Parcel Service       United Parcel Service -- Next Day Air to Robert Gonderinger, Croker                15.80
                                        Huck Kasher DeWitt A
05/08/17    United Parcel Service       United Parcel Service -- Next Day Air to Jeffrey M. Wolf, Greenberg                15.80
                                        Traurig, LLP
05/08/17    United Parcel Service       United Parcel Service -- Next Day Air to Brian J. Koenig, Koley Jessen             15.80
                                        P.C., L.L.O.
05/16/17    Postage                     Postage                                                                            71.69


                                                  SUMMARIZED COSTS

DESCRIPTION                                                                             QTY         PER UNIT           TOTAL
Reproductions                                                                        1,894.00              0.10         189.40
TOTAL                                                                                                                  $189.40



                                                                                    TOTAL COSTS                        $382.77




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                                                  P.O. Box 5716
                                           Cincinnati, OH 45201-5716
                                                 (513) 651-6800
                                         Facsimile (513) 651-6981
                                       www.frostbrowntodd.com

        Official Committee of Unsecured Creditors of Gordmans                     FED. ID# XX-XXXXXXX
        Stores, Inc.                                                              November 6, 2017
        Attn: Jeffrey N. Pomerantz                                               Invoice # 11140700
        10100 Santa Monica Boulevard, 11th Floor                         Account # 0135890.0646308
        Los Angeles, CA 90067-4100



REGARDING: Gordmans Stores Chapter 11 Cases

For Professional Services Rendered Through October 31, 2017                              $34,588.50
            Other Charges Through October 31, 2017                                          $316.58

                     TOTAL THIS INVOICE                                                  $34,905.08




                                            THANK YOU
                                PAYMENT APPRECIATED WITHIN 30 DAYS
                           PLEASE INCLUDE YOUR INVOICE NUMBER ON CHECK
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                                                                                    Invoice # 11140700
                                       PHASE & TASK SUMMARY
PHASE      TASK     DESCRIPTION                                              HOURS         AMOUNT
B100       B110     Case Administration                                           0.70         404.00
B100       B150     Meetings of and Communications with Creditors                 5.00        2,102.00
B100       B160     Fee/Employment Applications                                   3.10        1,180.50
B100       B180     Avoidance Action Analysis                                     0.90         517.50
                    TOTAL                                                         9.70       $4,204.00


B300       B310     Claims Administration and Objections                        16.30         9,379.00
B300       B320     Plan and Disclosure Statement(including Business            37.10        21,005.50
                    TOTAL                                                       53.40       $30,384.50


E100       E101     Copying                                                                       4.16

E100       E101     Copying                                                                      55.40

E100       E105     Telephone                                                                    10.80

E100       E107     Delivery services/Messengers                                               246.22

                    TOTAL                                                         0.00        $316.58




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                                                   ITEMIZED SERVICES

 DATE                                DESCRIPTION                                     TMKR   HOURS     RATE       AMOUNT
10/02/17   (B300.B310 )      Draft and send email to L. Peters re Comenity           DLL       1.00     575.00        575.00
           Bank settlement status (.3); review Comenity Bank response to
           claim objection (.5); review settlement proposal (.2).
10/02/17   (B300.B310 )       Review stipulation extending period to object to       DLL       0.40     575.00        230.00
           Oracle administrative expense (.2); review L. Peters email re
           settlement status (.2).
10/02/17   (B300.B320 )       Review email from J. Netznik re unsecured              DLL       0.90     575.00        517.50
           creditors objection to plan treatment and issues re same (.2); review
           landlord counsel emails re same (.3); review plan treatment re same
           (.4).
10/02/17   (B300.B310 )      Attention to Oracle claim issues.                       REG       0.20     580.00        116.00
10/03/17   (B100.B150 )      Multiple communications with creditors re               AJW       0.60     220.00        132.00
           chapter 11 plan and disclosure statement.
10/03/17   (B300.B310 )        Review and analyze Comenity Bank response to          DLL       1.30     575.00        747.50
           claims objection (.7); review claim objection re same (.4); review
           pretrial order re same (.2).
10/03/17   (B100.B150 )        Two (2) telephone conferences with unsecured          DLL       0.50     575.00        287.50
           creditor re balloting and voting issues.
10/03/17   (B300.B320 )       Draft and send email to J. Netznik re revision to      DLL       0.80     575.00        460.00
           general unsecured claims treatment in plan and confirmation order
           (.5); review Plan re same (.3).
10/03/17   (B300.B320 )       Prepare for and participate in conference call with    DLL       0.70     575.00        402.50
           J. Netznik, L. Peters and B. Koenig re plan confirmation issues and
           Comenity Bank.
10/03/17   (B300.B320 )       Draft and send email to J. Netznik re Committee        DLL       0.30     575.00        172.50
           identification of Plan Administrator and Plan Supplement issues.
10/03/17   (B300.B320 )      Attention to plan administrator issues.                 REG       0.40     580.00        232.00
10/03/17   (B300.B310 )      Attention to review of Comenity Bank response           REG       0.50     580.00        290.00
           and settlement issues.
10/04/17   (B100.B150 )      Communications with multiple creditors re voting        AJW       0.40     220.00          88.00
           on chapter 11 plan.
10/04/17   (B300.B320 )       Conference call with Inland Commercial Real            DLL       1.60     575.00        920.00
           Estate's counsel re potential objection to treatment of general
           unsecured claims under the Plan (.3); draft email to J. Netznik and
           L. Peters re potential resolution to Inland plan objection (.6); review
           and respond to J. Netznik email re same (.2); draft email to Inland's
           counsel with proposed resolution of plan object (.3); review and
           respond to emails re same (.2).
10/04/17   (B300.B310 )      Review Debtors' objection to Comenity Bank              DLL       0.90     575.00        517.50
           administrative expense request (.6); review Comenity Bank
           administrative expense (.3).




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                                                                                                Account # 0135890.0646308
                                                                                                        Invoice # 11140700
 DATE                                DESCRIPTION                                  TMKR   HOURS     RATE       AMOUNT
10/04/17   (B300.B320 )     Review plan re requirements of Plan Supplement        DLL       1.10     575.00        632.50
           re Plan Administrator issues (.4); review R. Gold email re plan
           supplement and Plan Administrator (.4); emails to R. Gold and B.
           Koenig re same (.3).
10/04/17   (B300.B320 )     Prepare for and participate in conference call with   DLL       0.60     575.00        345.00
           B. Koenig re confirmation/disclosure statement hearing preparation.
10/04/17   (B300.B320 )      Attention to plan supplement issues.                 REG       0.30     580.00        174.00
10/04/17   (B100.B150 )      Attention to calls from creditors re ballot issues   REG       0.70     580.00        406.00
           and plan questions.
10/05/17   (B100.B150 )       Communications with creditors re chapter 11 plan    AJW       0.30     220.00          66.00
           and disclosure statement.
10/05/17   (B300.B320 )       Telephone conferences with Inland Commercial        DLL       0.70     575.00        402.50
           Real Estate counsel re confirmation order review and issues re same
           (.4); review plan language (.3).
10/05/17   (B100.B150 )      Attention to creditor inquiries re plan.             REG       0.70     580.00        406.00
10/05/17   (B100.B160 )      Attention to UST statement re fee application.       REG       0.10     580.00          58.00
10/06/17   (B100.B150 )       Communications with creditors re chapter 11 plan    AJW       0.20     220.00          44.00
           and disclosure statement.
10/06/17   (B300.B310 )      Review emails from Debtors' counsel and              DLL       0.70     575.00        402.50
           Comenity Bank counsel re consolidation of administrative expense
           hearing with claims objection (.4); review pretrial order re same
           (.3).
10/06/17   (B300.B320 )        Review confirmation hearing notice re plan         DLL       0.80     575.00        460.00
           supplement deadline (.2); review Plan re Plan Supplement
           requirements (.4); review disclosure for Plan Supplement re plan
           administrator (.2).
10/07/17   (B100.B150 )      Receipt and review communication from creditor       AJW       0.30     220.00          66.00
           re chapter 11 plan and disclosure statement.
10/09/17   (B100.B150 )     Communicate with UCC re upcoming voting               AJW       0.40     220.00          88.00
           deadline and procedures for voting on chapter 11 plan.
10/09/17   (B300.B310 )    Review updated preliminary pretrial order for          DLL       0.60     575.00        345.00
           Comenity Bank claims (.4); update response information re same
           (.2).
10/09/17   (B300.B310 )     Review email from Debtors' counsel re resolution      DLL       0.60     575.00        345.00
           of Oracle administrative expense (.2); review stipulation re same
           (.4).
10/09/17   (B300.B320 )      Review and respond to email from litigation          DLL       0.40     575.00        230.00
           claimant re Plan solicitation issues
10/09/17   (B300.B320 )     Conference and email with Debtors' counsel re         DLL       0.60     575.00        345.00
           plan supplement issues (.4); email to R. Gold re same (.2).




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                                                                                            Gordmans Stores Chapter 11 Cases
                                                                                                 Account # 0135890.0646308
                                                                                                         Invoice # 11140700
 DATE                                DESCRIPTION                                   TMKR   HOURS     RATE       AMOUNT
10/09/17   (B300.B320 )      Review proposed confirmation order language           DLL       0.50     575.00        287.50
           resolving landlord potential objection to plan (.2); review Plan re
           same (.3).
10/09/17   (B300.B320 )       Attention to plan confirmation issues and post       REG       0.50     580.00        290.00
           effective date issues with plan administrator.
10/09/17   (B300.B320 )       Attention to communications with and inquiries       REG       0.70     580.00        406.00
           from creditors re plan issues and impact.
10/09/17   (B300.B320 )      Attention to plan supplement issues.                  REG       0.90     580.00        522.00
10/09/17   (B100.B160 )      Review fee statement filings.                         REG       0.40     580.00        232.00
10/09/17   (B300.B320 )     Attention to review and edit of proposed order re      REG       0.90     580.00        522.00
           confirmation and approval of disclosure statement.
10/10/17   (B300.B310 )      Review emails from Debtors' counsel re status of      DLL       0.30     575.00        172.50
           negotiations with Comenity Bank.
10/10/17   (B300.B320 )       Review and revise confirmation order (1.1);          DLL       1.80     575.00       1,035.00
           review emails from J. Netznik re language resolving landlord
           objection to plan (.2); respond to emails re same (.5).
10/10/17   (B300.B320 )      Review plan objection by litigation claimant (.3);    DLL       0.60     575.00        345.00
           review plan issues re same (.3).
10/10/17   (B100.B160 )      Review September pro-forma.                           EPS       0.40     255.00        102.00
10/10/17   (B100.B160 )      Review Kutak, Kirkland and CTG monthly fee            REG       0.70     580.00        406.00
           statements.
10/10/17   (B300.B320 )     Review J. Netzik email re plan modification            REG       0.40     580.00        232.00
           language and reply to same.
10/10/17   (B300.B310 )      Email update from Kutak re Oracle and Comenity        REG       0.10     580.00          58.00
           Bank.
10/11/17   (B300.B320 )      Review Cruz plan objection (.4); review plan          DLL       1.30     575.00        747.50
           provisions re insured claims (.4); review proposed confirmation
           order language re resolving the same (.5).
10/11/17   (B300.B320 )       Draft and send email to J. Netznik and L. Peters     DLL       1.30     575.00        747.50
           re process for entering confirmation order and dealing with limited
           objections to plan (.6); conference call with J. Netznik re landlord
           informal objection to plan and litigation claimant informal objection
           to plan (.3); review emails from J. Netznik re confirmation order
           language resolving objections to plan (.4).
10/11/17   (B300.B320 )     Review and revise R. Gold comments to                  DLL       1.60     575.00        920.00
           confirmation order (1.1); review plan re same (.5).
10/11/17   (B300.B320 )      Review and comment to draft confirmation order.       REG       0.80     580.00        464.00
10/11/17   (B300.B320 )  Emails re resolution of confirmation objection            REG       0.50     580.00        290.00
           and UCC comments to order language re same.
10/11/17   (B100.B110 )      Attention to filed MOR.                               REG       0.30     580.00        174.00
10/12/17   (B100.B110 )      Review monthly operating agreement.                   DLL       0.40     575.00        230.00




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     Case 17-80304-TLS             Doc 1070 Filed 12/06/17 Entered 12/06/17 13:05:31                     Desc Main
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                                                                                                         Invoice # 11140700
 DATE                                DESCRIPTION                                   TMKR   HOURS     RATE       AMOUNT
10/12/17   (B300.B310 )        Two (2) conference calls with L. Peters, J.         DLL       1.60     575.00        920.00
           Netznik and B. Koenig re Comenity Bank settlement analysis and
           strategies (.7); conference call with B. Koenig re same (.2); emails
           to R. Gold and B. Koenig re same (.3); review Comenity Bank
           claims re same (.4).
10/12/17   (B300.B320 )       Review confirmation order language re resolution     DLL       0.90     575.00        517.50
           of litigation claimant informal objection (.3); review Debtor
           revisions to confirmation order (.6).
10/12/17   (B100.B160 )       Draft certifications of no objection for FBT's and   EPS       0.30     255.00          76.50
           Province's fee statements.
10/12/17   (B300.B320 )     Attention to issues re confirmation order and          REG       0.50     580.00        290.00
           confirmation hearing.
10/12/17   (B300.B310 )      Attention to issues re Comenity Bank settlement.      REG       0.20     580.00        116.00
10/13/17   (B300.B320 )      Review filed Plan Supplement and Plan re same.        DLL       0.90     575.00        517.50
10/13/17   (B300.B310 )     Review Comenity Bank settlement issues (.4);           DLL       0.70     575.00        402.50
           emails to B. Koenig re same (.3).
10/13/17   (B300.B320 )      Review emails from J. Netznik and L. Peters re        DLL       0.70     575.00        402.50
           plan confirmation process with no plan objections (.4); review
           confirmation hearing notice re same (.3).
10/13/17   (B100.B160 )      Finalize and file certifications of no objection to   EPS       0.20     255.00          51.00
           fee statements of FBT and Province.
10/13/17   (B300.B320 )       Attention to emails with Meta Advisors re plan       REG       0.50     580.00        290.00
           transition issues and follow up issues re same.
10/16/17   (B300.B320 )      Analyze issues in proposed confirmation order re      AJW       1.10     220.00        242.00
           provisions applicable to state taxing authorities (0.8);
           communications with R. Gold re same (0.3).
10/16/17   (B300.B310 )       Review Nebraska Department of Taxation               DLL       0.80     575.00        460.00
           amended proofs of claims and original proofs of claims (.5); emails
           to R. Gold re tax refund issues, setoff issues, and cash projection
           issues (.3).
10/16/17   (B300.B320 )       Review Province cash projection analysis re          DLL       0.70     575.00        402.50
           potential tax refunds and Comenity Bank settlement (.5); email to
           R. Gold re same (.2).
10/16/17   (B300.B320 )      Review draft confirmation order re state taxing       DLL       1.00     575.00        575.00
           authority settlement provisions (.5); review emails from R. Gold
           and A. Webb re treatment of Texas taxing authority in other
           confirmation orders (.4); email to R. Gold re resolution of language
           (.1).
10/16/17   (B300.B320 )    Review and comment to revised drafts of                 REG       1.30     580.00        754.00
           proposed confirmation order.
10/16/17   (B300.B320 )     Calls and emails with L. Peters re revised             REG       0.40     580.00        232.00
           confirmation order.
10/16/17   (B300.B320 )      Call with J. Netzik re revised confirmation order.    REG       0.30     580.00        174.00




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 DATE                               DESCRIPTION                                   TMKR   HOURS     RATE       AMOUNT
10/16/17   (B300.B320 )      Review Kirkland confirmation orders in other         REG       0.50     580.00        290.00
           cases re Texas and Mississippi claims.
10/16/17   (B300.B320 )      Review filings re plan and DS and court order re     REG       1.00     580.00        580.00
           taking hearing off calendar.
10/16/17   (B300.B320 )      Calls and emails with D. Lutz and B. Koenig re       REG       0.30     580.00        174.00
           same.
10/16/17   (B100.B150 )      Email update to committee re plan.                   REG       0.20     580.00        116.00
10/16/17   (B300.B310 )      Review Texas and Mississippi claims.                 REG       0.30     580.00        174.00
10/16/17   (B300.B320 )      Attention to Meta Advisors and plan                  REG       0.30     580.00        174.00
           administrator issues.
10/17/17   (B300.B320 )     Review email from Chambers with form                  DLL       0.70     575.00        402.50
           confirmation order (.2); review revised confirmation order (.3);
           review R. Gold email re same (.2).
10/17/17   (B300.B320 )      Review ballot summary, Glenn Declaration in          DLL       1.20     575.00        690.00
           support of confirmation, Marchese Declaration in support of
           confirmation, and Kutak Rock Declaration in support of
           confirmation.
10/17/17   (B300.B310 )      Review emails from Comenity Bank and Debtors         DLL       0.40     575.00        230.00
           re settlement and plan issues.
10/17/17   (B300.B320 )      Attention to Comenity Bank notice re plan and        REG       0.20     580.00        116.00
           confirmation issues.
10/17/17   (B300.B320 )      Emails with J. Netzik of Kirkland re confirmation    REG       0.20     580.00        116.00
           issues.
10/17/17   (B300.B320 )      Email with L. Peters of Kutak re confirmation        REG       0.10     580.00          58.00
           issues.
10/17/17   (B300.B320 )      Attention to issues and review and comment to        REG       1.00     580.00        580.00
           revised confirmation order.
10/18/17   (B300.B320 )       Review entered confirmation order and confirmed     DLL       0.80     575.00        460.00
           plan re effective date conditions(.6); review notice of confirmation
           (.2).
10/18/17   (B300.B320 )      Review entered confirmation order and notice of      REG       0.30     580.00        174.00
           confirmation.
10/18/17   (B300.B320 )      Extended call with Meta Advisors re transition       REG       0.40     580.00        232.00
           issues.
10/19/17   (B300.B310 )     Review Comenity Bank counsel email re                 DLL       0.60     575.00        345.00
           settlement agreement status and plan reservation issues (.2); review
           confirmed Plan re same (.4).
10/19/17   (B100.B160 )      Draft and finalize FBT fee statement (.3).           EPS       0.30     255.00          76.50
10/19/17   (B100.B160 )      Draft and finalize Province's fee statement.         EPS       0.30     255.00          76.50
10/20/17   (B300.B310 )     Follow up emails re Comenity Bank settlement          DLL       0.60     575.00        345.00
           (.4); review Comenity Bank counsel emails re same (.2).




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                                                                                                           Account # 0135890.0646308
                                                                                                                   Invoice # 11140700
 DATE                                   DESCRIPTION                                    TMKR     HOURS         RATE       AMOUNT
10/23/17      (B300.B320 )      Review effective date conditions in Plan (.4);         DLL             0.80     575.00        460.00
              emails to Debtors' counsel re Comenity Bank settlement drafting
              status (.4).
10/23/17      (B300.B310 )       Emails to Debtors' counsel re Comenity Bank           DLL             0.90     575.00        517.50
              settlement status (.4); review draft Comenity Bank settlement
              stipulation (.5).
10/24/17      (B300.B310 )       Review CBL landlord amended proof of claim re         DLL             0.20     575.00        115.00
              postpetition rent claim.
10/24/17      (B300.B310 )        Review Comenity Bank settlement release              DLL             0.90     575.00        517.50
              provision (.3); review 90 day payment list re Comenity Bank
              release issues (.6).
10/24/17      (B100.B160 )      Finalize and file fee statements for Province and      EPS             0.40     255.00        102.00
              FBT.
10/26/17      (B100.B180 )        Review 90 day preference information for             DLL             0.90     575.00        517.50
              transition to plan administrator (.7); conference with A. Webb re
              same (.2).
10/30/17      (B300.B310 )       Review Comenity Bank settlement agreement             DLL             0.90     575.00        517.50
              (.6); emails to Debtors' counsel re same (.3).
10/31/17      (B300.B310 )       Review Comenity Bank proofs of claim and              DLL             1.60     575.00        920.00
              administrative expense request (.5); review Comenity Bank
              settlement agreement re same (.6); review 90 day payment issues re
              same (.3); email to Debtors' counsel re Committee approval of
              settlement stipulation (.2).
10/31/17      (B100.B150 )       Conference call with two (2) unsecured creditors      DLL             0.70     575.00        402.50
              re effective date and case status (.4); follow up emails re same (.3).
              TOTAL                                                                                   63.10                 34,588.50


                                                PERSONNEL FEE SUMMARY

INIT       NAME                                                   RANK                   HOURS                RATE        AMOUNT
REG        Gold, Ronald E                                         Member                      17.10           580.00         9,918.00
DLL        Lutz, Douglas L.                                       Member                      40.80           575.00        23,460.00
AJW        Webb, Adam J                                           Associate                    3.30           220.00          726.00
EPS        Severini, Erin P                                       Staff Attorney               1.90           255.00          484.50
           TOTAL                                                                              63.10                        $34,588.50


                                                        ITEMIZED COSTS

DATE                                         DESCRIPTION                                                                  AMOUNT
09/28/17       United Parcel Service         United Parcel Service -- Next Day Air to ATTN: JEFFREY M. WOL,                     16.02
                                             GREENBERG TRAURIG, LLP




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                                                                                                    Account # 0135890.0646308
                                                                                                            Invoice # 11140700
DATE                                    DESCRIPTION                                                                AMOUNT
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to FOR THE DISTRICT OF,                    16.02
                                        OFFICE OF THE UNITED STATES
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to JEFFREY T. WEGNER &,                    16.02
                                        KUTAK ROCK LLP
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to ATTN: ANDY HALL AND,                    16.02
                                        GORDMANS STORES, INC.
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to & GONDERINGER L.L.C.,                   16.02
                                        CROKER HUCK KASHER DEWITT A
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to BRAD WEILAND AND                        12.22
                                        JAM, KIRKLAND & ELLIS LLP
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to ATTN: BRIAN J. KOENI,                   16.02
                                        KOLEY JESSEN P.C., L.L.O.
09/28/17    United Parcel Service       United Parcel Service -- Next Day Air to STEVEN FOX AND DONAL,                   15.05
                                        RIEMER BRAUNSTEIN LLP
10/03/17    Conference Call             Conference Call Charges for October 2017 - participants 5                        10.80
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to & GONDERINGER L.L.C.,                   15.95
                                        CROKER HUCK KASHER DEWITT A
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to STEVEN FOX AND DONAL,                   14.97
                                        RIEMER BRAUNSTEIN LLP
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to ATTN: JEFFREY M. WOL,                   15.95
                                        GREENBERG TRAURIG, LLP
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to ATTN: BRIAN J. KOENI,                   15.95
                                        KOLEY JESSEN P.C., L.L.O.
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to ATTN: ANDY HALL AND,                    15.95
                                        GORDMANS STORES, INC.
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to BRAD WEILAND AND                        12.16
                                        JAM, KIRKLAND & ELLIS LLP
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to JEFFREY T. WEGNER &,                    15.95
                                        KUTAK ROCK LLP
10/24/17    United Parcel Service       United Parcel Service -- Next Day Air to FOR THE DISTRICT OF,                    15.95
                                        OFFICE OF THE UNITED STATES


                                                SUMMARIZED COSTS

DESCRIPTION                                                                             QTY         PER UNIT          TOTAL
Reproductions                                                                         554.00             0.10            55.40
Reproductions Duplex                                                                   52.00             0.08             4.16
TOTAL                                                                                                                  $59.56




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                                                                          Invoice # 11140700
                                                      TOTAL COSTS                   $316.58




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                                                 P.O. Box 5716
                                          Cincinnati, OH 45201-5716
                                                (513) 651-6800
                                        Facsimile (513) 651-6981
                                       www.frostbrowntodd.com

       Official Committee of Unsecured Creditors of Gordmans                    FED. ID# XX-XXXXXXX
       Stores, Inc.                                                           November 22, 2017
       Attn: Jeffrey N. Pomerantz                                             Invoice # 11146011
       10100 Santa Monica Boulevard, 11th Floor                       Account # 0135890.0646308
       Los Angeles, CA 90067-4100



REGARDING: Gordmans Stores Chapter 11 Cases

For Professional Services Rendered Through November 22, 2017                             $6,656.50
            Other Charges Through November 22, 2017                                         $36.18

                    TOTAL THIS INVOICE                                                   $6,692.68




                                            THANK YOU
                                PAYMENT APPRECIATED WITHIN 30 DAYS
                           PLEASE INCLUDE YOUR INVOICE NUMBER ON CHECK
       Case 17-80304-TLS      Doc 1070 Filed 12/06/17 Entered 12/06/17 13:05:31     Desc Main
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                                                                       Gordmans Stores Chapter 11 Cases
                                                                            Account # 0135890.0646308
                                                                                    Invoice # 11146011
                                       PHASE & TASK SUMMARY
PHASE      TASK     DESCRIPTION                                              HOURS         AMOUNT
B100       B110     Case Administration                                           0.60         345.00
B100       B160     Fee/Employment Applications                                   3.70        1,551.50
B100       B180     Avoidance Action Analysis                                     0.80         464.00
                    TOTAL                                                         5.10       $2,360.50


B300       B310     Claims Administration and Objections                          0.80         460.00
B300       B320     Plan and Disclosure Statement(including Business              6.90        3,836.00
                    TOTAL                                                         7.70       $4,296.00


E100       E101     Copying                                                                      27.30

E100       E107     Delivery services/Messengers                                                  8.88

                    TOTAL                                                         0.00         $36.18




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                                                                                                         Invoice # 11146011
                                                  ITEMIZED SERVICES

 DATE                                DESCRIPTION                                   TMKR   HOURS     RATE       AMOUNT
11/01/17   (B300.B320 )      Review and respond to emails re effective date        DLL       0.40     575.00        230.00
           issues and professional fee escrow funding.
11/01/17   (B100.B110 )       Conferences with two (2) unsecured creditors re      DLL       0.60     575.00        345.00
           case status and effective date status.
11/01/17   (B100.B160 )      Review and analyze fee statements and amount          EPS       0.40     255.00        102.00
           necessary to fund profession fee escrow.
11/01/17   (B100.B160 )      Send email to R. Gold re professional fee escrow.     EPS       0.20     255.00          51.00
11/01/17   (B300.B320 )      Email with L. Peters re effective date issues.        REG       0.20     580.00        116.00
11/02/17   (B100.B160 )       Phone call and email with C. Cabello re              EPS       0.10     255.00          25.50
           professional fee escrow.
11/03/17   (B300.B320 )       Review effective date conditions in confirmed        DLL       0.60     575.00        345.00
           Plan (.3); emails re same (.3).
11/06/17   (B100.B160 )        Review monthly fee draft pro forma (.3); review     DLL       1.50     575.00        862.50
           confirmed plan re timing/procedure for final fee applications (.3);
           emails to E. Severini re preparation of monthly fee statement and
           final fee application (.4); conference with E. Severini re same (.2);
           review final monthly invoice and email to E. Severini re same (.3).
11/06/17   (B300.B320 )      Review Debtors' counsel email re effective date       DLL       0.90     575.00        517.50
           conditions and conference call re same (.3); emails to Debtors'
           counsel re same (.3); emails to Plan Administrator re same (.3).
11/06/17   (B100.B160 )      Review FBT's October proforma.                        EPS       0.30     255.00          76.50
11/06/17   (B100.B160 )       Communicate with C. Cabello and D. Lutz re           EPS       0.10     255.00          25.50
           professional fee escrow.
11/07/17   (B300.B320 )       Review META Advisors emails re effective date        DLL       1.30     575.00        747.50
           selection issues (.2); prepare for and participate in conference call
           with Debtors' counsel re same (.5); conference call with META
           Advisors re selection of November 15 as effective date (.3); follow
           up conference call with Debtors' counsel re same (.1); email to
           META Advisors re same (.2).
11/07/17   (B100.B160 )      Review draft monthly fee statement (.3); email to     DLL       0.40     575.00        230.00
           E. Severini re approval of same for filing (.1).
11/07/17   (B100.B160 )      Draft FBT's monthly fee statement.                    EPS       0.40     255.00        102.00
11/07/17   (B100.B160 )      Prepare and file certifications of no objection for   EPS       0.30     255.00          76.50
           fee statements of FBT and Province.
11/07/17   (B300.B320 )      Emails re updates and status and issues re            REG       0.20     580.00        116.00
           effective date.
11/09/17   (B300.B310 )   Review Comenity Bank revised settlement and B.           DLL       0.80     575.00        460.00
           Koenig comments re same.
11/10/17   (B300.B320 )  Attention to effective date notice draft and email        REG       0.20     580.00        116.00
           with META Advisors.




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       Case 17-80304-TLS               Doc 1070 Filed 12/06/17 Entered 12/06/17 13:05:31                          Desc Main
                                              Document    Page 118 of 118                                         November 22, 2017
                                                                                                     Gordmans Stores Chapter 11 Cases
                                                                                                          Account # 0135890.0646308
                                                                                                                  Invoice # 11146011
 DATE                                   DESCRIPTION                                   TMKR     HOURS         RATE       AMOUNT
11/13/17      (B300.B320 )      Attention to issues re effective date of plan and     AJW             0.40     220.00          88.00
              plan administrator.
11/13/17      (B300.B320 )       Review email from META Advisors re plan              DLL             0.60     575.00        345.00
              administrator agreement issues (.2); review draft notice of effective
              date (.2); conference with R. Gold re plan administrator transition
              issues (.2).
11/13/17      (B300.B320 )      Attention to plan effective date issues.              REG             0.50     580.00        290.00
11/13/17      (B100.B180 )      Attention to review and analysis re avoidance         REG             0.80     580.00        464.00
              actions.
11/14/17      (B300.B320 )       Extended call with META Advisors re plan and         REG             1.00     580.00        580.00
              effective date transition issues and follow up re same.
11/15/17      (B300.B320 )       Review and respond to emails re effective date       DLL             0.60     575.00        345.00
              issues (.4); emails to Debtors' counsel re same (.2).
              TOTAL                                                                                  12.80                  6,656.50


                                                PERSONNEL FEE SUMMARY

INIT       NAME                                                  RANK                   HOURS                RATE        AMOUNT
REG        Gold, Ronald E                                        Member                       2.90           580.00         1,682.00
DLL        Lutz, Douglas L.                                      Member                       7.70           575.00         4,427.50
AJW        Webb, Adam J                                          Associate                    0.40           220.00            88.00
EPS        Severini, Erin P                                      Staff Attorney               1.80           255.00          459.00
           TOTAL                                                                             12.80                         $6,656.50


                                                        ITEMIZED COSTS

DATE                                        DESCRIPTION                                                                  AMOUNT
10/25/17       United Parcel Service        United Parcel Service -- Next Day Air to FROST BROWN TODD LLC                       8.88


                                                     SUMMARIZED COSTS

DESCRIPTION                                                                                  QTY         PER UNIT           TOTAL
Reproductions                                                                               273.00             0.10            27.30
TOTAL                                                                                                                        $27.30



                                                                                        TOTAL COSTS                          $36.18




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